               Case 21-52236-wlh                    Doc 1              Filed 03/18/21 Entered 03/19/21 10:00:08 Desc
                                                                      Petition Page 1 of 64             Filed in U.S. Bankruptcy
                                                                                                                                                     Court
                                                                                                                                    Atlanta. Georgia
 Fill in this information to identify your case:                                                                                M. Regina Thomas,
                                                                                                                                                   Clerk
 United States Bankruptcy Court for the:                                                                                            MAR 18 2021
               District of

 Case number (If known)                                                                   under:                                _   Deputy Clerk

                                                                     Chapter
                                                                  CI Chapter 12
                                                                  0 Chapter 13                                                      U Check if this is an
                                                                                                                                      amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                    04/20

The bankruptcy forms use you and Debtor I to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
Joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,"
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Part 1:     Identify Yourself

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name
    Write the name that is on your
                                     Ana
    government-issued picture
    identification (for example,     First name                                                    First name
    your driver's license or
    passport).                       Middle name                                                   Middle name
    Bring your picture               Belmont
    identification to your meeting   Last name                                                     Last name
    with the trustee.
                                     Suffix (Sr., Jr., II, Ill)                                    Suffix (Sr., Jr., II, Ill)




2. All other names you               Ana
   have used in the last 8           First name
   years
    Include your married or          Middle name
    maiden names.                    Arizmendi
                                     Last name


                                     First name

                                     Middle name

                                     Last name                                                     Last name




3. Only the last 4 digits of
   your Social Security
                                     XXX       — XX —             1     0         5   2            XXX       — XX —
   number or federal                 OR                                                             OR
   Individual Taxpayer
   Identification number             9 xx - xx -                                                    9 xx - xx -
   (ITIN)

Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                      page 1
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Debtor 1     Ana                                    Belmont                                           Case number (if known)
             First Name   Middle Name               Last Name




                                        About Debtor I                                                      About Debtor 2. (Spouse
                                                                                                                                :   Only In a Joint Case)t


4. Any business names
   and Employer                         WI I have not used any business names or EINs.                      U I have not used any business names or ElNs.
   Identification Numbers
   (EIN) you have used in
   the last 8 years                     Business name                                                       Business name

    Include trade names and
    doing business as names                                                                                 Business name
                                        Business name



                                        EIN                                                                 EIN


                                        EIN                                                                 EIN




 . Where you live                                                                                           If Debtor 2 lives at a different address:


                                        416 Bruce Way
                                        Number  Street                                                       Number          Street




                                         Lilburn                                  GA       30047
                                        City                                     State     ZIP Code          City                                     State     ZIP Code

                                        Gwinnett
                                        County                                                               County

                                        If your mailing address is different from the one                    If Debtor 2's mailing address is different from
                                        above, fill it in here. Note that the court will send                yours, fill it in here. Note that the court will send
                                        any notices to you at this mailing address.                          any notices to this mailing address.



                                        Number          Street                                               Number            Street

                                        P.O. Box 783
                                        P.O. Box                                                             P.O. Box

                                         Norcross                                 GA        30091
                                        City                                     State     ZIP Code          City                                      State    ZIP Code




6. Why you are choosing                 Check one:                                                           Check one:
   this district to file for
   bankruptcy                           id Over the last 180 days before filing this petition,               CI Over the last 180 days before filing this petition,
                                               I have lived in this district longer than in any                     I have lived in this district longer than in any
                                               other district,                                                      other district.

                                        U I have another reason. Explain.                                    U I have another reason. Explain.
                                          (See 28 U.S.C. § 1408.)                                              (See 28 U.S.C. § 1408.)




   Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                             page 2
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Debtor 1        Ana                                    Belmont                                      Case number (if known)
                First Name   Middle Name               Last Name




Part 2;       Tell the Court About Your Bankruptcy Case


7. The chapter of the                      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
   Bankruptcy Code you                     for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
   are choosing to file
                                           O Chapter 7
   under
                                           CI Chapter 11
                                           U Chapter 12

                                           •     Chapter 13


8. How you will pay the fee                      I will pay the entire fee when I file my petition. Please check with the clerk's office in your
                                                 local court for more details about how you may pay. Typically, if you are paying the fee
                                                  yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                                  submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                 with a pre-printed address.

                                           •     I need to pay the fee in installments. If you choose this option, sign and attach the
                                                 Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                           Pi I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                              By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                              less than 150% of the official poverty line that applies to your family size and you are unable to
                                              pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                              Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for                         No
      bankruptcy within the
      last 8 years?                        0 Yes.      District                            When                         Case number
                                                                                                   MM/ DD / YYYY

                                                        District                            When                        Case number
                                                                                                   MM! DD / YYYY

                                                        District                            When                        Case number
                                                                                                   MM! DD / YYYY



lo. Are any bankruptcy                     O No
    cases pending or being
    filed by a spouse who is               0 Yes.       Deotor                                                           Relationship to you
    not filing this case with                           District                            When                         Case number, if known
    you, or by a business                                                                          MM/DD / YYYY
    partner, or by an
    affiliate?
                                                        Debtor                                                           Relationship to you

                                                        District                            When                         Case number, if known
                                                                                                   MM / DD / YYYY



11. Do you rent your                           0 No. Go to line 12.
    residence?                                 • Yes. Has your landlord obtained an eviction judgment against you?
                                                        O No. Go to line 12.
                                                        O Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                          part of this bankruptcy petition.




     Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
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Debtor 1      Ana                                     Belmont                                      Case number (if known)
              First Name    Middle Name               Last Name




Part 3:     Report About Any Businesses You Own as a Sole Proprietor


12. Are you a sole proprietor               No. Go to Part 4.
    of any full- or part-time
    business?                             U Yes. Name and location of business
    A sole proprietorship is a
    business you operate as an
                                                  Name of business, if any
    individual, and is not a
    separate legal entity such as
    a corporation, partnership, or
                                                  Number          Street
    LLC.
    If you have more than one
    sole proprietorship, use a
    separate sheet and attach it
    to this petition.                                 City                                                  State           ZIP Code


                                                  Check the appropriate box to describe your business:
                                                  •       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                  U Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                  U Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                  U Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                  U None of the above


13. Are you filing under                  If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
    Chapter 11 of the                     choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
    Bankruptcy Code, and                  are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
                                          most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
    are you a small business
                                          if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor or a debtor as
    defined by 11 U.S. C. §               el No. I am not filing under Chapter 11.
    1182(1)?                              U No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small                    the Bankruptcy Code.
    business debtor, see
                                            Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy
    11 U.S.C. § 101(51D).
                                                 Code, and I do not choose to proceed under Subchapter V of Chapter 11.
                                          U Yes. I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the
                                                 Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.




   Official Form 101                                   Voluntary Petition for Individuals Filing for Bankruptcy                                page 4
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Debtor 1        Ana                                Belmont                                       Case number (If known)
                First Name    Middle Name          Last Name




 Part 4:       Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


 14.   Do you own or have any               0 No
       property that poses or is
       alleged to pose a threat             CI Yes. What is the hazard?
       of imminent and
       identifiable hazard to
       public health or safety?
       Or do you own any
       property that needs                           If immediate attention is needed, why is it needed?
       immediate attention?
       For example, do you own
       perishable goods, or livestock
       that must be fed, or a building
       that needs urgent repairs?
                                                     Where is the property?
                                                                              Number        Street




                                                                              City                                        State   ZIP Code




  Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                             page 5
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Debtor 1       Ana                                   Belmont                                            Case number (if known)
              First Name     Middle Name            Last Name




Part 5:     Explain Your Efforts to Receive a Briefing About Credit Counseling

                                                                                                                                       . .            . .
                                           About Debtor 1:                                                             Debtor 2 (Spouse Ortly.in a Joint Case):
15. Tell the court whether                                                                                                      ,                            .
    you have received a
    briefing about credit                  You must check one:                                                 You must check one:
    counseling.
                                              I received a briefing from an approved credit                    U I received a briefing from an approved credit
                                              counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
    receive a briefing about credit           certificate of completion.                                         certificate of completion.
    counseling before you file for
                                              Attach a copy of the certificate and the payment                     Attach a copy of the certificate and the payment
    bankruptcy. You must
                                              plan, if any, that you developed with the agency.                    plan, if any, that you developed with the agency.
    truthfully check one of the
    following choices. If you                 I received a briefing from an approved credit                    U I received a briefing from an approved credit
    cannot do so, you are not                 counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                              certificate of completion.                                         certificate of completion.
    If you file anyway, the court             Within 14 days after you file this bankruptcy petition,              Within 14 days after you file this bankruptcy petition,
    can dismiss your case, you                                                                                     you MUST file a copy of the certificate and payment
                                              you MUST file a copy of the certificate and payment
    will lose whatever filing fee             plan, if any.                                                        plan, if any.
    you paid, and your creditors
    can begin collection activities           I certify that I asked for credit counseling                     U I certify that I asked for credit counseling
    again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                              unable to obtain those services during the 7                       unable to obtain those services during the 7
                                              days after I made my request, and exigent                          days after I made my request, and exigent
                                              circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                              of the requirement.                                                of the requirement.
                                              To ask for a 30-day temporary waiver of the                           To ask for a 30-day temporary waiver of the
                                              requirement, attach a separate sheet explaining                       requirement, attach a separate sheet explaining
                                              what efforts you made to obtain the briefing, why                     what efforts you made to obtain the briefing, why
                                              you were unable to obtain it before you filed for                     you were unable to obtain it before you filed for
                                              bankruptcy, and what exigent circumstances                            bankruptcy, and what exigent circumstances
                                              required you to file this case.                                       required you to file this case.
                                              Your case may be dismissed if the court is                            Your case may be dismissed if the court is
                                              dissatisfied with your reasons for not receiving a                    dissatisfied with your reasons for not receiving a
                                              briefing before you filed for bankruptcy.                             briefing before you filed for bankruptcy.
                                              If the court is satisfied with your reasons, you must                 If the court is satisfied with your reasons, you must
                                              still receive a briefing within 30 days after you file.               still receive a briefing within 30 days after you file.
                                              You must file a certificate from the approved                         You must file a certificate from the approved
                                              agency, along with a copy of the payment plan you                     agency, along with a copy of the payment plan you
                                              developed, if any. If you do not do so, your case                     developed, if any. If you do not do so, your case
                                              may be dismissed.                                                     may be dismissed.
                                              Any extension of the 30-day deadline is granted                       Any extension of the 30-day deadline is granted
                                              only for cause and is limited to a maximum of 15                      only for cause and is limited to a maximum of 15
                                              days.                                                                 days.

                                           U I am not required to receive a briefing about                      U I am not required to receive a briefing about
                                             credit counseling because of:                                        credit counseling because of:

                                              U Incapacity.      I have a mental illness or a mental                0 Incapacity.      I have a mental illness or a mental
                                                                 deficiency that makes me                                              deficiency that makes me
                                                                 incapable of realizing or making                                      incapable of realizing or making
                                                                 rational decisions about finances.                                    rational decisions about finances.
                                              U Disability.      My physical disability causes me                   U Disability.      My physical disability causes me
                                                                 to be unable to participate in a                                      to be unable to participate in a
                                                                 briefing in person, by phone, or                                      briefing in person, by phone, or
                                                                 through the internet, even after I                                    through the internet, even after I
                                                                 reasonably tried to do so.                                            reasonably tried to do so.
                                              U Active duty. I am currently on active military                      U Active duty. I am currently on active military
                                                             duty in a military combat zone.                                       duty in a military combat zone.
                                              If you believe you are not required to receive a                      If you believe you are not required to receive a
                                              briefing about credit counseling, you must file a                     briefing about credit counseling, you must file a
                                              motion for waiver of credit counseling with the court.                motion for waiver of credit counseling with the court.




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    Debtor 1      Ana                                  Belmont                                        Case number (if known)
                 First Name   Middle Name             Last Name




    Part 6:    Answer These Questions for Reporting Purposes

                                            16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    16. What kind of debts do                    as "incurred by an individual primarily for a personal, family, or household purpose."
        you have?
                                                 U No. Go to line 16b.
                                                 • Yes. Go to line 17.

                                            16b.Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                money for a business or investment or through the operation of the business or investment
                                                 D No. Go to line 16c.
                                                 LIYes. Go to line 17.

                                            16c. State the type of debts you owe that are not consumer debts or business debts.



    17. Are you filing under
.       Chapter 7?                          U No. lam not filing under Chapter 7. Go to line 18.

        Do you estimate that after •            Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
        any exempt property is                       administrative expenses are paid that funds will be available to distribute to unsecured creditors?
        excluded and                                  121 No
        administrative expenses
        are paid that funds will be                   ZI Yes
        available for distribution
        to unsecured creditors?

    18. How many creditors do               VI 1-49                               U 1,000-5,000                                ZI 25,001-50,000
        you estimate that you               U 50-99                               ZI 5,001-10,000                              D 50,001-100,000
        owe?                                U 100-199                             Zi 10,001-25,000                             0 More than 100,000
                                            ZI 200-999

: 19. How much do you                       0 $0-$50,000                              $1,000,001-$10 million                     $500,000,001-$1 billion
      estimate your assets to                   $50,001-$100,000                      $10,000,001-$50 million                    $1,000,000,001-$10 billion
      be worth?                                 $100,001-$500,000                     $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                                $500,001-$1 million                   $100,000,001-$500 million                U More than $50 billion

    20. How much do you                         $0-$50,000                            $1,000,001-$10 million                     $500,000,001-$1 billion
        estimate your liabilities               $50,001-$100,000                      $10,000,001-$50 million                    $1,000,000,001-$10 billion
        to be?                                  $100,001-$500,000                     $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                            0   $500,001-$1 million                   $100,000,001-$500 million                U More than $50 billion
    Part 7:    Sign Below

                                            I have examined this petition, and I declare under penalty of perjury that the information provided is true and
    For you                                 correct.
                                            If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                            of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                            under Chapter 7.
                                            If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                            this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                            I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                            I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                            with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                            18 U.S       152, 1341, 1519, and 3571.



                                                Signature of Deb                                                Signature of Debtor 2

                                                Executed on                                                     Executed on
                                                                  MM   / DD /   YY                                             MM / DD    / YYYY


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Debtor 1     Ana                                   Belmont                                   Case number (if known)
             First Name   Middle Name              Last Name




For you if you are filing this          The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an                   should understand that many people find it extremely difficult to represent
attorney                                themselves successfully. Because bankruptcy has long-term financial and legal
                                        consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
an attorney, you do not                 To be successful, you must correctly file and handle your bankruptcy case. The rules are very
need to file this page.                 technical, and a mistake or inaction may affect your rights. For example, your case may be
                                        dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                        hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                        firm if your case is selected for audit. If that happens, you could lose your right to file another
                                        case, or you may lose protections, including the benefit of the automatic stay.

                                        You must list all your property and debts in the schedules that you are required to file with the
                                        court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                        in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                        property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                        also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                        case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                        cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                        Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

                                        If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                        hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                        successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                        Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                        be familiar with any state exemption laws that apply.

                                        Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                        consequences?
                                        U No
                                        ria Yes

                                        Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                        inaccurate or incomplete, you could be fined or imprisoned?
                                        •     No
                                        lid Yes

                                        Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                        CI No
                                        •     Yes. Name of Person Jeffery Favors
                                                   Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).



                                        By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                        have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                        attorney may cause me to lose my rights or property if I do not properly handle the case.




                                            Sign               ebtor 1                                  Signature of Debtor 2

                                        Date                                                            Date
                                                               MM        D   / YYY                                       MM / DD / YYYY

                                        Contact phone           (956) 372-5889                          Contact phone

                                        Cell phone                                                      Cell phone

                                        Email address                                                   Email address



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  Fill in this information to identify your case:


  Debtor 1           Ana                                               Belmont
                      First Name              Middle Name                Last Name

  Debtor 2
  (Spouse, if filing) First Name              Middle Name                Last Name


  United States Bankruptcy Court for the: Northern District of Georgia

  Case number
  (If known)                                                                                                                        U Check if this is an
                                                                                                                                      amended filing




Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                  04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


  Part 1:           Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

        It Married
        U Not married


  2. During the last 3 years, have you lived anywhere other than where you live now?

       U     No
       g     Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

               Debtor 1:                                          Dates Debtor 1      Debtor 2:                                          Dates Debtor 2
                                                                  lived there                                                            lived there


                                                                                         U Same as Debtor 1                             U   Same as Debtor 1

                  629 Wendy drive                                 From      07/13/2017                                                      From
                 Number            Street                                                   Number Street
                                                                  To       11/01/2020                                                       To



                    Monticello              GA       31064
                 City                       State ZIP Code                                  City                 State ZIP Code

                                                                                         U Same as Debtor 1                             U   Same as Debtor 1


                                                                  From                                                                      From
                 Number            Street                                                   Number Street
                                                                  To                                                                        To




                  City                      State ZIP Code                                  City                 State   ZIP Code


     . Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
       states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
               No
        U      Yes. Make sure you fill out Schedule I-I: Your Codebtors (Official Form 106H).




   Part 2: Explain the Sources of Your Income

Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                            page 1
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Debtor 1        Ana                                                 Belmont                          Case number (if known)
                First Name   Middle Name          Last Name




 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor I.

     CI    No
     I/ Yes. Fill in the details.



                                                                                         .• •
                                                         Sources of Income            Gross IncoMe              Sources of income           • GrosivIncorn'e
                                                         Check all that apply.        (before deductions and    Check all that apply.—:      ••(before deductions and •
                                                                                      exclusions)                                             exeluSione),,      •••    •,,

                                                         • Wages, commissions,                                  O Wages, commissions,
           From January 1 of current year until
                                                           bonuses, tips
                                                                                                 3,644.00         bonuses, tips
           the date you filed for bankruptcy:
                                                         O Operating a business                                 O Operating a business


           For last calendar year:
                                                         •    Wages, commissions,                               D Wages, commissions,
                                                              bonuses, tips                    15,307.00             bonuses, tips
           (January Ito December 31,2(120                Ll Operating a    business                             LI   Operating a business
                                    YYYY

                                                         •    Wages, commissions,                               O Wages, commissions,
           For the calendar year before that:
                                                              bonuses, tips                                       bonuses, tips
                                                                                               15,300.00
           (January 1 to December 31, 2019             ) 0    Operating a business                              0    Operating a business
                                           YYYY




  5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
     unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
     gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     •     No
     O Yes. Fill in the details.



                                                         Sources of Income            Gross Income from          Sources of Income           GrostilncoMe,from •              :
                                                         Describe below.              each source                Describe below.             . each source
                                                                                                                                                     ..
                                                                                      (before deductions and                                • (before deductions and I
                                                                                      exclusions)                                              exclusions)



            From January 1 of current year until —
            the date you filed for bankruptcy:




            For last calendar year:

            (January 1 to December 31,2020        )
                                           YYYY




            For the calendar year before that:

            (January 1 to December 31,2019        )
                                           YYYY




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Debtor 1      Ana                                                             Belmont                  Case number (If known)
               First Name         Middle Name               Last Name




 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor l's or Debtor 2's debts primarily consumer debts?

           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               "incurred by an individual primarily for a personal, family, or household purpose."
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

               LI   No. Go to line 7.

               U Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                              total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                              child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

     10 Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                ki No. Go to line 7.

               U Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                              creditor. Do not include payments for domestic support obligations, such as child support and
                              alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                              Dates of   Total amount paid         Amount you still owe   Was this payment for...
                                                                              payment


                                                                                                                                          LI Mortgage
                       Creditor's Name
                                                                                                                                             Car

                       Number      Street                                                                                                     Credit card

                                                                                                                                             Loan repayment

                                                                                                                                          U Suppliers or vendors
                       City                     State            ZIP Code
                                                                                                                                              Other




                                                                                                                                              Mortgage
                       Creditor's Name
                                                                                                                                          U Car
                       Number      Street
                                                                                                                                          U Credit card
                                                                                                                                          0 Loan repayment
                                                                                                                                          U Suppliers or vendors
                       City                     State            ZIP Code
                                                                                                                                          0 Other


                                                                                                                                          U Mortgage
                       Creditor's Name
                                                                                                                                              Car

                       Number      Street
                                                                                                                                          U Credit card
                                                                                                                                              Loan repayment

                                                                                                                                          U Suppliers or vendors
                       City                     State            ZIP Code
                                                                                                                                          U Other



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Debtor 1        Ana                                                     Belmont                       Case number (if known)
                   First Name       Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
    Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
    corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
    agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
    such as child support and alimony.

     El No
     0 Yes. List all payments to an insider.
                                                                         Dates of     Total amount       Amount you still - Reason for this payment
                                                                         payment      paid               owe


           Insider's Name



           Number         Street




           City                                   State   ZIP Code




           Insider's Name


            Number        Street




            City                                  State   ZIP Code



  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     g     No
     0 Yes. List all payments that benefited an insider.
                                                                        Dates of       Total amount       Amount you ill Reason for this payment
                                                                        payment        paid               owe            Include creditor's name


            Insider's Name



            Number         Street




            City                                  State    ZIP Code




            Insider's Name



            Number         Street




                                                  State    ZIP Code




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Debtor 1      Ana                                                        Belmont                           Case number (If known)
               First Name         Middle Name           Last Name




              Identify Legal Actions, Repossessions, and Foreclosures
 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
    List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
    and contract disputes.

     EI No
     CI Yes. Fill in the details.
                                                               Nature of the case                    Court or agency                              Status of the case


           Case title                                                                                                                             O Pending
                                                                                                  i Court Name
                                                                                                                                                  O On appeal
                                                                                                   Number      Street                             LI   Concluded

           Case number
                                                                                                  I City                     State   ZIP Code




           Case title                                                                              I Court Name
                                                                                                                                                  O    Pending
                                                                                                                                                  O On appeal
                                                                                                   :Number     Street                             O    Concluded

           Case number
                                                                                                   City                      State   ZIP Code



  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
      Check all that apply and fill in the details below.

     21 No. Go to line 11.
     U Yes. Fill in the information below.
                                                                         Describe the property                                        Date      Value of the property



                Creditor's Name



                Number      Street                                       Explain what happened

                                                                         LLI   Property was repossessed.
                                                                         LI    Property was foreclosed.
                                                                          O    Property was garnished.
                City                            State   ZIP Code          O    Property was attached, seized, or levied.

                                                                         Describe the property                                                   Value of the property




                Creditors Name



                 Number     Street
                                                                         Explain what happened

                                                                          0    Property was repossessed.
                                                                          LI   Property was foreclosed.

                 City                           State   ZIP Code
                                                                          0    Property was garnished.
                                                                          O    Property was attached, seized, or levied.



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Debtor 1              Ana                                                          Belmont                    Case number (if known)
                      First Name      Middle Name             Last Name




I 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
      accounts or refuse to make a payment because you owed a debt?

      0    No
      0    Yes. Fill in the details.

                                                                      Describe the action the creditor took                            Date action
                                                                                                                                       was taken
           Creditors Name



           Number           Street




           City                               State    ZIP Code       Last 4 digits of account number: XXXX—


  12 Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
      IA No
      CI   Yes


:MI                   List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
      0    Yes. Fill in the details for each gift.


                 Gifts with a total .value                                Describe the gifts                                           Dates you
                                       . of more .than                                                                                 the gifts
           :   ..per person




           Person to Whom You Gave the Gift




               Number       Street



               City                            State   ZIP Code


               Person's relationship to you


               Gifts With: it''total value of more than 600               Describe the gifts                                           Dates you gave     Value
               per person            •                                                         _                                       the gifts,



               Person to Whom You Gave the Gift




               Number        Street



               City                            State   ZIP Code


               Person's relationship to you


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Debtor 1          Ana                                                       Belmont                         Case number Of known)
                    First Name      Middle Name          Last Name




 14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     0     No
     O Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities                 Describe what you contributed                                         Date you
            that total more than $600                                                                                                 contribted




           Charity's Name




           Number        Street




           City            State      ZIP Code




                     List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
      disaster, or gambling?

     (if   No
     O Yes. Fill in the details.

            Describe the property you lost and                   Describe any Insurance coverage for the loss                                                     PertY
            how the loss occurred
                                                                 Include the amount that insurance has paid. List pending insurance
                                                                 claims on line 33 of Schedule/VB.* Property.




                  List Certain Payments or Transfers

  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
      you consulted about seeking bankruptcy or preparing a bankruptcy petition?
      Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

      0    No
      O Yes. Fill in the details.

                                                                     escription and value o any property transferred                  Date payment or      urit of payment
            Jeffery Favors                                                                                                            transfer was
             Person Who Was Paid                                                                                                      Made

            2133 L'ville Suwanee Rd
             Number        Street                                                                                                     03/08/2021                175.00

            Ste 12

            Suwanee                      GA       30024
             City                         State   ZIP Code



             Email or website address


             Person Who Made the•Payment, if Not You



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Debtor 1        Ana                                                           Belmont                        Case number (If known)
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred                 Date payment or      Amount of
                                                                                                                                      transfer was made    payment

           Person Who Was Paid



           Number        Street




           City                         State    ZIP Code




           Email or website address



           Person Who Made the Payment, if Not You


  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
      promised to help you deal with your creditors or to make payments to your creditors?
      Do not include any payment or transfer that you listed on line 16.

     •     No
     O Yes. Fill in the details.
                                                                    Description and value of any property transferred                 Date payment or
                                                                                                                                      transfer was
                                                                                                                                      made
            Person Who Was Paid


            Number        Street




            City                         State   ZIP Code

  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
      transferred in the ordinary course of your business or financial affairs?
      Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
      Do not include gifts and transfers that you have already listed on this statement.
     ad No
      O Yes. Fill in the details.

                                                                    Description and value of property         Describe any property or payments received     Date transfer
                                                                    transferred                               or debts paid In exchange                      was Made

            Person Who Received Transfer



            Number        Street




            City                        State    ZIP Code


            Person's relationship to you


            Person Who Received Transfer



            Number        Street




            City                         State   ZIP Code

            Person's relationship to you

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Debtor 1         Ana                                                         Belmont                       Case number (if known)
                  First Name       Middle Name          Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     •      No
     L.1 Yes. Fill in the details.

                                                                Description and value of the property transferred                                            Date transfer
                                                                                                                                                             was made      •


            Name of trust




                 List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
      closed, sold, moved, or transferred?
      Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
      brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     g No
     U Yes. Fill in the details.

                                                                    Last 4 digits of account number    Type of account or           Date account was       Last balance before
                                                                                                      ..instrument                  closed, sold, moved,   closing or transfer
                                                                                                                                    or transferred

             Name of Financial Institution
                                                                                                       U Checking

             Number      Street
                                                                                                       U Savings
                                                                                                       U Money market
                                                                                                       U Brokerage
             City                       State    ZIP Code
                                                                                                       U Other


                                                                                                       U Checking
             Name of Financial Institution
                                                                                                       U Savings

             Number      Street                                                                        U Money market
                                                                                                       U Brokerage
                                                                                                       U Other
             City                        State   ZIP Code


  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
      securities, cash, or other valuables?
         LI No
         U Yes. Fill in the details.
                                                                    Who else had access to it?'                              the contents                         'Do you, Still
                                                                                                                               ,                                   have it?

                                                                                                                                                                 I U No
              Name of Financial Institution                                                                                                                       U Yes
                                                                Name


              Number      Street                                Number       Street



                                                                    City       State    ZIP Code

              City                       State   ZIP Code



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Debtor 1      Ana                                                             Belmont                                  Case number (if known)
                  First Name      Middle Name              Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
    U Yes. Fill in the details.
                                                  Who else has or had access to it?         Describe the contents                                                 Do you still
                                                                                                                                                                  have it?

                                                                                                                                                                    U No
           Name of Storage Facility                                Name                                                                                           1 U Yes

           Number        Street                                    Number    Street


                                                                   City State ZIP Code

                                       State    ZIP Code



                     Identify Property You Hold or Control for Someone Else

  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
      or hold in trust for someone.
      Ei No
      U Yes. Fill in the details.
                                                                i Where is the property?                                      Describe the property.   .


           Owner's Name

                                                                 Number     Street
           Number        Street



                                                                 City                            State      ZIP Code
            City                        State   ZIP Code


                     Give Details About Environmental information

  For the purpose of Part 10, the following definitions apply:
  •   Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
      hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
      including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  •   Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
      utilize it or used to own, operate, or utilize it, including disposal sites.

  •   Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
      substance, hazardous material, pollutant, contaminant, or similar term.

  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

      ei No
      U Yes. Fill in the details.
                                                                   Governmental unit                            Environmental law, If you know it



           Name of site                                           Governmental unit


           Number       Street                                    Number     Street


                                                                  City                   State   ZIP Code



           City                        State    ZIP Code




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Debtor 1        Ana                                                              Belmont                                 Case number (if known)
                    First Name       Middle Name           Last Name




 25.Have you notified any governmental unit of any release of hazardous material?

     21 No
           Yes. Fill in the details.
                                                                  Governmental unit                                  Environmental law, if you know it                       Date of notice




            Name of site                                         Governmental unit


            Number         Street                                Number        Street




                                                                 City                     State    ZIP Code


            City                          State     ZIP Code



  26.Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     El No
     CI Yes. Fill in the details.
                                                                                                                                                                                 Status of the
                                                                       Court or agency                                    Nature of the case
                                                                                                                                                                                 case

           Case title
                                                                                                                                                                                 LI Pending
                                                                       Court Name
                                                                                                                                                                             1
                                                                                                                                                                                 Li On appeal

                                                                       Number    Street                                                                                          0   Concluded


           Case number                                                 City                       State   ZIP Code



  Part 11:             Give Details About Your Business or Connections to Any Business

  27.Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
        0 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           CI   A member of a limited liability company (LLC) or limited liability partnership (LLP)
                A partner in a partnership
           0    An officer, director, or managing executive of a corporation
           CI   An owner of at least 5% of the voting or equity securities of a corporation

      Lid No. None of the above applies. Go to Part 12.
      CI Yes. Check all that apply above and fill in the details below for each business.                                                                 ,
                                                                       Describe the nature of the business                                 Employer Identification number
                                                                                                                                                        ,                    .    .
                                                                                                                                           DO not Include Social Security.numberor.ITIN.
             Business Name




             Number         Street
                                                                       Name of accountant or bookkeeper                                    Dates business existed


                                                                                                                                              From                To
             qt.!                          State    ZIP Code                                                                                               .
                                                                                                                                          ,
                                                                       Describe the nature of the business                                    Employer Identification
                                                                                                                                                                 .    number.-        .   .
                                                                                                                                                                          . number or ITIN. •
                                                                                                                                               . not Include Social Security
                                                                                                                                              Do
             Business Name

                                                                                                                                              EIN:
             Number         Street
                                                                       Name of accountant or bookkeeper                                       Dates business existed c;..
                                                                                                                                               •


                                                                                                                                              From                To
             City                           State    ZIP Code


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Debtor 1     Ana                                                            Belmont                         Case number (If known)
                  First Name      Middle Name          Last Name




                                                                                                                             Employer Identification number.
                                                               Describe the nature of the business
                                                                                                                           • Do not include Social Security number or ITIN.
           Business Name
                                                                                                                            EIN:

           Number        Street
                                                               Name of accountant or bookkeeper                             Dates business existed



                                                                                                                             From                To
           City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     El No
     1:1 Yes. Fill in the details below.

                                                               Date Issued



           Name                                                    MM / DD / YYYY



           Number        Street




           City                         State   ZIP Code




  Part 12:         Sign Below


       I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
       answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
       in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
       18 U.S.C. §§ 152, 1341, 1519, and 3571.




           Sign                                                                     Signature of Debtor 2


           Date                                                                     Date
       Did you a          ch additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

       [A No
       1:1 Yes


       Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
       1:1 No
           Yes. Name of person Jeffery Favors                                                                      . Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                                      Declaration, and Signature (Official Form 119).




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Fill in this information to identify your case and this filing:


Debtor 1             Ana                                                     Belmont
                     First Name                  Middle Name                 Last Name

Debtor 2
(Spouse, if filing) First Name                   Middle Name                 Last Name


United States Bankruptcy Court for the: Northern District of Georgia

Case number
                                                                                                                                               0   Check if this is an
                                                                                                                                                   amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                        12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
    U No. Go to Part 2.
    54 Yes. Where is the property?
                                                                       What is the property? Check all that apply.
                                                                                                                         Do not deduct secured claims or exemptions, Put
                                                                            Single-family home                           the amount of any secured claims on Schedule D:
               629 Wendy drive                                                                                           Creditors Who Have Claims Secured by Property.
                                                                            Duplex or multi-unit building
              Street address, if available, or other description
                                                                           Condominium or cooperative                    Current value of the      Current value of the
                                                                            Manufactured or mobile home                  entire property?          portion you own?
                                                                            Land                                                143,000.00         $      71,500.00
                                                                            Investment property
               Montecello                     GA        31064                                                            Describe the nature of your ownership
                                                                            Timeshare
              City                            State      ZIP Code                                                        interest (such as fee simple, tenancy by
                                                                            Other                                        the entireties, or a life estate), if known.
                                                                       Who has an interest in the property? Check one.

               Jasper                                                   0 Debtor 1 only
              County                                                    CI Debtor 2 only
                                                                        0 Debtor 1 and Debtor 2 only                     U Check if this is community property
                                                                                                                           (see instructions)
                                                                        at At least one of the debtors and another
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:
    If you own or have more than one, list here:
                                                                    What is the property? Check all that apply.          Do not deduct secured claims or exemptions. Put
                                                                    CI     Single-family home                            the amount of any secured claims on Schedule D:
       1.2.                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                       O Duplex or multi-unit building
              Street address, if available, or other description
                                                                       O Condominium or cooperative                      Current value of the      Current value of the
                                                                       O Manufactured or mobile home                     entire property?          portion you own?
                                                                       O Land
                                                                       O Investment property
                                                                                                                         Describe the nature of your ownership
              City                            State      ZIP Code
                                                                    1:3    Timeshare
                                                                                                                         interest (such as fee simple, tenancy by
                                                                       O Other                                           the entireties, or a life estate), if known.
                                                                    Who has an interest in the property? Check one.
                                                                       0 Debtor 1 only
              County                                                   CI Debtor 2 only
                                                                          Debtor 1 and Debtor 2 only                     0   Check if this is community property
                                                                       0 At least one of the debtors and another             (see instructions)

                                                                    Other information you wish to add about this item, such as local
                                                                    property identification number:


 Official Form 106A/B                                                  Schedule NB: Property                                                               page 1
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                                                                                                Case number (if known)
Debtor 1             Ana                                    Belmont
                     First Name     Middle Name            Last Name




                                                                       What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                       U Single-family home                              the amount of any secured claims on Schedule D:
       1.3.                                                                                                              Creditors Who Have Claims Secured by Property.
              Street address, if available, or other description       U    Duplex or multi-unit building
                                                                       U Condominium or cooperative                      Current value of the     Current value of the
                                                                                                                         entire property?         portion you own?
                                                                       U    Manufactured or mobile home
                                                                       U Land
                                                                       U Investment property
              City                            State     ZIP Code                                                         Describe the nature of your ownership
                                                                       U    Timeshare
                                                                                                                         interest (such as fee simple, tenancy by
                                                                       U Other                                           the entireties, or a life estate), if known.

                                                                       Who has an interest in the property? Check one.
                                                                       U Debtor 1 only
              County
                                                                       U Debtor 2 only
                                                                       U Debtor 1 and Debtor 2 only                      U   Check if this is community property
                                                                                                                             (see instructions)
                                                                       U At least one of the debtors and another

                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:



2 Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                           71,500.00
  you have attached for Part 1. Write that number here.                                                                                     4




                Describe Your Vehicles



Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
   U No
   •      Yes


       3.1.   Make:                         Chevy                      Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
                                                                                                                         the amount of any secured claims on Schedule 0:
              Model:                        Silvarado                  WI Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
                                                                       U Debtor 2 only
              Year:                         2019                                                                         Current value of the      Current value of the
                                                                       U Debtor 1 and Debtor 2 only
              Approximate mileage:          15000                                                                        entire property?          portion you own?
                                                                       U At least one of the debtors and another
              Other information:
                                                                                                                                  40,000.00        $        40,000.00
                                                                       U Check if this is community property (see
                                                                         instructions)



   If you own or have more than one, describe here:
                                                                                                                             .       .       .            .            .
              Make:                                                    Who has an interest in the property? Check one.   Do not deduct secured.olaims orexemptions, Put     ,
       3.2.
                                                                                                                         the amount of any secured claim.* on Schqqyle D:
              Model:                                                   U Debtor 1 only                                   creditors W Hatie Claims Secured by Probe*.
                                                                       U Debtor 2 only
              Year:                                                                                                      Current value of the      Current value of the
                                                                       CI Debtor 1 and Debtor 2 only                     entire property?          portion you own? ,
              Approximate mileage:                                     U At least one of the debtors and another
              Other information:
                                                                        U Check if this is community property (see
                                                                          instructions)




 Official Form 106A/B                                                   Schedule A/B: Property                                                             page 2
                      Case 21-52236-wlh              Doc 1        Filed 03/18/21 Entered 03/19/21 10:00:08                              Desc
Debtor 1.         Ana                               Bplmnnt
                                                                 Petition Page 23 of 64
                                                                                      Case number (if known)
                  First Name       Middle Name     Last Name




            Make:                                              Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
    3.3.
                                                                                                                 the amount of any secured claims on Schedule a
                                                               U Debtor 1 only                                   Creditors Who Have Claims Secured by Property.
            Model:
                                                               U Debtor 2 only
            Year:                                                                                                Current value of the      Current value of the
                                                               D Debtor 1 and Debtor 2 only                      entire property?          portion you own?
            Approximate mileage:                               U At least one of the debtors and another
            Other information:
                                                               U Check if this is community property (see
                                                                 instructions)


            Make:                                              Who has an interest in the property? Check one.   Do not deductsecured claims or exemptions. Put ..
    3.4.
                                                                                                                 the amount of ariy.secured claima.on Schedule D:
                                                               U Debtor 1 only                                   Creditors Who Have Claims Secured by Property. I
            Model:
                                                               U Debtor 2 only
            Year:                                                                                                Current value of the      Current value of the
                                                               U Debtor 1 and Debtor 2 only
                                                                                                                 entire property?          portion you own?
            Approximate mileage:                               U At least one of the debtors and another
            Other information:
                                                               U Check if this is community property (see
                                                                 instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
    Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
    1211 No
    U      Yes


             Make:                                             Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
    4.1.
                                                                                                                 the amount of any secured claims on Schedule D-,
                                                               U Debtor 1 only                                   Creditor's Who Have Claims Secured by Property.
             Model:
                                                               U Debtor 2 only
             Year:
                                                               U Debtor 1 and Debtor 2 only                      Current value of the      Current value of the
             Other information:                                U At least one of the debtors and another         entire property?          portion you own?


                                                               U Check if this is community property (see
                                                                 instructions)



    If you own or have more than one, list here:

             Make:                                             Who has an interest in the property? Check one.   'Do not deduct secured claims or exemptions. Put
    4.2.
                                                                                                                  the amount of any secured Claims on Schedule D:    '
                                                               U Debtor 1 only                                    Creditors Who Have Claims Secured by Properly.
             Model:
                                                               U Debtor 2 only
              Year:                                                                                              Current value of the       Current value of the
                                                               U Debtor 1 and Debtor 2 only
                                                                                                                 entire property?           portion you own?
              Other information:                               U At least one of the debtors and another


                                                               U Check if this is community property (see
                                                                 instructions)




5   Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                40,000.00
    you have attached for Part 2. Write that number here                                                                            4




 Official Form 106A/B                                           Schedule A/B: Property                                                              page 3
                Case 21-52236-wlh                 Doc 1      Filed 03/18/21 Entered 03/19/21 10:00:08                        Desc
Debtor 1       Ana                               Belmont
                                                            Petition Page 24 of 64
                                                                                 Case number (if known)
               First Name    Middle Name        Last Name




Part 3:    Describe Your Personal and Household Items

                                                                                                                           Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                          Portion
                                                                                                                                 ndeydo
                                                                                                                                      uct
                                                                                                                                       uo sew
                                                                                                                                            cunr?
                                                                                                                                                ed °claims
                                                                                                                          •or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
   El No
   0 Yes. Describe           furniture and appliances
7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
   ▪ No
   O Yes. Describe                                                                                                                             250.00 •
                             phone and computer
8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   O No
   O Yes. Describe


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   O No
   O Yes. Describe


10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   O No
   O Yes. Describe

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
   ElNo
   O Yes. Describe                                                                                                                              200.00
                              Clothes

12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
   O No
   CI Yes. Describe                                                                                                                                 0.00

is. Non-farm animals
   Examples: Dogs, cats, birds, horses

   O No
   O Yes. Describe


14. Any other personal and household items you did not already list, including any health aids you did not list

   O No
   O Yes. Give specific
     information.

15 Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                   450.00
   for Part 3. Write that number here



 Official Form 106A/B                                       Schedule A/B: Property                                                        page 4
                Case 21-52236-wlh                    Doc 1       Filed 03/18/21 Entered 03/19/21 10:00:08                              Desc
Debtor 1                                             Belmnnt
                                                                Petition Page 25 of 64
                                                                                     Case number (if known)
               Ana
               First Name     Middle Name           Lest Name




Part 4:      Describe Your Financial Assets


                            l egal or equitable interest many of the following?                                                      Current value of the
                                                                                                                                     portion you own?
                                                                                                                                    ,Do not deduct secured claims
                                                                                                                                     or exemptions.

16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   O No
   U Yes                                                                                                     Cash:




17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
              and other similar institutions. If you have multiple accounts with the same institution, list each.
   El No
   0    Yes                                                     Institution name:


                              17.1. Checking account:            IBC                                                                                  100.00

                               17.2. Checking account:

                               17.3. Savings account:

                               17.4. Savings account:

                               17.5. Certificates of deposit:

                               17.6. Other financial account:

                               17.7. Other financial account:

                               17.8. Other financial account:

                               17.9. Other financial account:




18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts willt brokerage firms, money market accounts
    O No
   U Yes                       Institution or issuer name:




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
    an LLC, partnership, and joint venture

    0   No                     Name of entity:                                                               % of ownership:
    U Yes. Give specific
      information about
      them




 Official Form 106A/B                                           Schedule A/B: Property                                                             page 5
               Case 21-52236-wlh                       Doc 1      Filed 03/18/21 Entered 03/19/21 10:00:08                       Desc
Debtor 1                                               Belmont
                                                                 Petition Page 26 of 64
                                                                                      Case number (if known)
              Ann
              First Name    Middle Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

   O No
   U Yes. Give specific      Issuer name:
     information about
     them




21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   O No
   U Yes. List each
     account separately. Type of account:               Institution name:

                             401(k) or similar plan:

                             Pension plan:

                             IRA:

                             Retirement account:        TRS                                                                             5,000.00

                             Keogh:

                             Additional account:

                             Additional account:




22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

   O No
   U Yes                                           Institution name or individual:
                             Electric:

                             Gas:

                             Heating oil:

                             Security deposit on rental unit:

                             Prepaid rent:

                             Telephone:

                             Water:

                              Rented furniture:

                              Other:



23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   id No
   U Yes                      Issuer name and description:




 Official Form 106A/B                                            Schedule A/B: Property                                                 page 6
               Case 21-52236-wlh                    Doc 1      Filed 03/18/21 Entered 03/19/21 10:00:08                                    Desc
Debtor 1      Ana                                  Belmont
                                                              Petition Page 27 of 64
                                                                                   Case number (if known)
              First Name     Middle Name          Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   el No
   U Yes                              Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
    exercisable for your benefit

   ki No
   U Yes. Give specific
     information about them....


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   id No
   U Yes. Give specific
     information about them....


27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
   la No
   U Yes. Give specific
     information about them....


Money or property owed to you?                                                                                                             Current value of the
                                                                                                                                           Portion You own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions

28. Tax refunds owed to you
   la No
   U Yes. Give specific information                                                                               Federal:
          about them, including whether
          you already filed the returns                                                                          State:
          and the tax years.
                                                                                                                  Local:



29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   la No
    U Yes. Give specific information
                                                                                                                 Alimony:
                                                                                                                 Maintenance:
                                                                                                                 Support:
                                                                                                                 Divorce settlement:
                                                                                                                 Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
              Social Security benefits; unpaid loans you made to someone else
    la No
    U Yes. Give specific information




 Official Form 106A/B                                         Schedule A/B: Property                                                                 page 7
                Case 21-52236-wlh                    Doc 1        Filed 03/18/21 Entered 03/19/21 10:00:08                                           Desc
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                                                                                      Case number (if known)
Debtor 1       An                                    Belmont
               First Name      Middle Name          Last Name




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (NSA); credit, homeowner's, or renter's insurance

   0    No
   O Yes. Name the insurance company               Company name:                                           Beneficiary:                             Surrender or refund value:
          of each policy and list its value..




32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   O No
   O Yes. Give specific information



33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   O No
   O Yes. Describe each claim.


34 Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   O No
   O Yes. Describe each claim.




35. Any financial assets you did not already list

   O No
   O Yes. Give specific information



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here                                                                                                     4                       5,100.00




             Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.


37. Do you own or have any legal or equitable interest in any business-related property?

   O No. Go to Part 6.
   O Yes. Go to line 38.

                                                                                                                                                   Current value of the
                                                                                                                                                   portion you own?
                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned

   O No
   CI   Yes. Describe


39. Office equipment, furnishings, and supplies
   Examples: Business- related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
    O No
    O Yes. Describe




 Official Form 106A/B                                           Schedule A/B: Property                                                                          page 8
                  Case 21-52236-wlh                  Doc 1      Filed 03/18/21 Entered 03/19/21 10:00:08                     Desc
Debtor 1       Ana                                  Belmont    Petition Page 29 of 64
                                                                                   Case number (if known)
               First Name        Middle Name       Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   12i   No
   O Yes. Describe



41. Inventory
        No
     O Yes. Describe



42. Interests in partnerships or joint ventures
   O No
   O Yes. Describe               Name of entity:                                                         % of ownership:




43. Customer lists, mailing lists, or other compilations
    O No
    CI Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
              Li No
              0   Yes. Describe.



44. Any business-related property you did not atready list
    O No
    O Yes. Give specific
       information




45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                   0.00
    for Part 5. Write that number here                                                                                 4


              Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
              If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
    0    No. Go to Part 7.
    CI   Yes. Go to line 47.
                                                                                                                           Current value of the
                                                                                                                           portion you own?
                                                                                                                           Do not deduct secured claims
                                                                                                                           or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
    ▪ No
    Li Yes                  I.




  Official Form 106A/B                                         Schedule A/B: Property                                                   page 9
                        Case 21-52236-wlh              Doc 1      Filed 03/18/21 Entered 03/19/21 10:00:08                               Desc
Debtor 1             Ana                             Belmont
                                                                 Petition Page 30 of 64
                                                                                     Case number (if known)
                      First Name   Middle Name       Last Name




48. Crops—either           growing or harvested
      121 No
      U Yes. Give specific
        information.

49   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
      121 No
      U Yes



50. Farm      and fishing supplies, chemicals, and feed
      •     No
      U Yes



51. Any farm- and commercial fishing-related property you did not already list
      10 No
      U Yes. Give specific
        information.


52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                      0.00
      for Part 6. Write that number here                                                                                       4
                 _


Part 7:              Describe All Property You Own or Have an Interest in That You Did Not List Above

53.   Do you have other property of any kind you did not already list?
      Examples: Season tickets, country club membership

      [21 No
          U Yes. Give specific
            information




                                                                                                                               4                     0.00
54. Add       the dollar value of all of your entries from Part 7. Write that number here



                     List the Totals of Each Part of this Form

                                                                                                                                        $    71,500.00
55.Part 1: Total real estate, line 2

56.Part 2: Total vehicles, line 5
                                                                                     40,000.00

57.Part 3: Total personal and household items, line 15
                                                                                            450.00

 58.Part 4: Total financial assets, line 36
                                                                                      5,100.00

 59.Part 5: Total business-related property, line 45
                                                                                              0.00

 so. Part 6: Total farm- and fishing-related property, line 52
                                                                                              0.00

 61.Part 7: Total other property not listed, line 54                                          0.00

 62.Total personal property. Add lines 56 through 61.                                                Copy personal property total   4   +$      45,550.00


                                                                                                                                             117,050.00
 63. Total       of all property on Schedule A/B. Add line 55 + line 62.



     Official Form 106A/B                                        Schedule A/B: Property                                                          page 10
                    Case 21-52236-wlh                    Doc 1     Filed 03/18/21 Entered 03/19/21 10:00:08                              Desc
                                                                  Petition Page 31 of 64
 Fill in this information to identify your case:

 Debtor 1          Ana                                                   Belmont
                    First Name                  Middle Name              Last Name

 Debtor 2
 (Spouse, if filing) First Name                 Middle Name              Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number                                                                                                                                Check if this is an
  (If known)
                                                                                                                                            amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                           04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      g You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
        You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


 2. For any property you list on Schedule NB that you claim as exempt, fill in the information below.


       Brief description of the property and line on          Current value of the   Amount or the exemption                  Specific laws that allow exemption
       Schedule A/B that lists this property                  portion you own
                                                              Copy the value from    Check only one box for each exemption.
                                                              Schedule NB

       Brief
                                  Electronics                 $250.00                    $ 250.00
       description:
                                                                                     iW1 100% of fair market value, up to
       Line from
       Schedule A/B:              7                                                      any applicable statutory limit


       Brief
                                  Clothes                     $ 200.00                   $ 200.00
       description:
                                                                                     IZ1 100% of fair market value, up to
       Line from
       Schedule A/B:                                                                     any applicable statutory limit

       Brief
       description:
                                  Checking Account            $ 100.00               U s 100.00
                                                                                         100% of fair market value, up to
       Line from
       Schedule A/B:              17                                                     any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
      Lid   No
       0 Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
            U      No
            0      Yes



Official Form 1060                                            Schedule C: The Property You Claim as Exempt                                         page 1 of
               Case 21-52236-wlh                   Doc 1     Filed 03/18/21 Entered 03/19/21 10:00:08                                Desc
                                                            Petition Page 32 of 64
Debtor 1      Ana                                                 Belmont                       Case number (if known)
              First Name        Middle Name    Last Name




 Part 2:     Additional Page

      Brief description of the property and line       Current value of the   Amount of the exemption you claim          Specific laws that allow exemption
      on Schedule A/B that lists this property         portion you own
                                                       Copy the value from    Check only one box for each exemption
                                                       Schedule A/B

     Brief
     description:
                           Retirement Account                    5,000.00           $     5,000.00
     Line from             21                                                       100% of fair market value, up to
     Schedule A/B:                                                                  any applicable statutory limit

     Brief
     description:                                                             Us
                                                                              •     100% of fair market value, up to
     Line from
     Schedule A/B:                                                                  any applicable statutory limit


      Brief
      description:                                                                  $
                                                                              O 100% of fair market value, up to
      Line from
      Schedule A/B:                                                             any applicable statutory limit

      Brief
      description:                                                            Us
                                                                              O 100% of fair market value, up to
      Line from
      Schedule NB:                                                              any applicable statutory limit

      Brief
      description:                                                            Us
      Line from                                                               CI 100% of fair market value, up to
      Schedule A/B:                                                                 any applicable statutory limit


      Brief
      description:                                                            Us
      Line from                                                               Cl 100% of fair market value, up to
      Schedule A/B:                                                                 any applicable statutory limit

      Brief
      description:                                                            ▪      $

      Line from                                                                O 100% of fair market value, up to
      Schedule A/B:                                                              any applicable statutory limit

      Brief
      description:                                                                  $
                                                                                  O 100% of fair market value, up to
      Line from
      Schedule NB:                                                                  any applicable statutory limit


      Brief
      description:                                                             Us
      Line from                                                                   O 100% of fair market value, up to
      Schedule NB:                                                                  any applicable statutory limit

      Brief
      description:                                                                   $
                                                                                     100% of fair market value, up to
      Line from
      Schedule NB:                                                                   any applicable statutory limit

      Brief
      description:                                                             Us
      Line from
                                                                               0 100% of fair market value, up to
      Schedule NB:                                                                   any applicable statutory limit


      Brief
      description:                                                                Us
      Line from                                                                   LI 100% of fair market value, up to
      Schedule A/B:                                                                  any applicable statutory limit



 Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                         page   2   of_
                      Case 21-52236-wlh                         Doc 1         Filed 03/18/21 Entered 03/19/21 10:00:08                         Desc
                                                                             Petition Page 33 of 64
 Fill in this information to identify your case:

 Debtor 1           Ana                                                 Belmont
                     First Name                   Middle Name                        Last Name

 Debtor 2
 (Spouse, if filing) First Name                   Middle Name                        Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number
 (If known)                                                                                                                                    CI   Check if this is an
                                                                                                                                                    amended filing


 Official Form 106D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
 additional pages, write your name and case number (if known).


1. Do any creditors have claims secured by your property?
            No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       g    Yes. Fill in all of the information below.


112:1:111:1 List All Secured Claims


2. List all secured claims. If a creditor has more than one secured claim, 'list the creditor separately
      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.
      As much as possible, list the claims in alphabetical order according to the creditor's name.

2.1
       USDA / RURAL DEVELOPMENT                             Describe the property that secures the claim:                  $   138,943.00 $   143,000.00 $          0.00
       Creditor's Name

       P 0 BOX 66889                                       Single Family House
         .ber.
       Num               Street

                                                            As of the date you file, the claim is: Check all that apply.
                                                            LI       Contingent
       St Louis                      MO      63166          V        Unliquidated
       City                          State   ZIP Code
                                                            LI       Disputed
   Who owes the debt? Check one.                            Nature of lien. Check all that apply.
   O Debtor 1 only                                          V       •An agreement you made (such as mortgage or secured
   O       Debtor 2 only                                      car loan)
   O Debtor 1 and Debtor 2 only                             U Statutory lien (such as tax lien, mechanic's lien)
   V       At least one of the debtors and another          O        Judgment lien from a lawsuit
                                                            O        Other (including a right to offset)
   O       Check if this claim relates to a
           community debt
   Date debt was incurred          07/13/2017               Last 4 digits of account number
 2.2
           Bank of America                                  Describe the property that secures the claim:                       41,432.00 $   40,000.00 $ 1,432.00
       Creditor's Name

       PO BOX 45144                                        2019 Chevy Silverado
       Number            Street

                                                            As of the date you file, the claim is: Check all that apply.
                                                            U Contingent
           Jacksonville              FL      32232                  • Unliquidated
       City                          State   ZIP Code
                                                            LI       Disputed
   Who owes the debt? Check one.                            Nature of lien. Check all that apply.
   V        Debtor 1 only                                   V       •An agreement you made (such as mortgage or secured
   LI       Debtor 2 only                                            car loan)
   LI Debtor 1 and Debtor 2 only                            LI Statutory lien (such as tax lien, mechanic's lien)
   LI At least one of the debtors and another               U Judgment lien from a lawsuit
                                                                O    Other (including a right to offset)
   O  Check if this claim relates to a
      community debt
   Date debt was incurred 10/01/201C                        Last 4 digits of account number

       'Add the dollar value of Your entries in Column A                   on this Page.         Write that number             180,375.00

  Official Form 106D                                 Schedule D: Creditors Who Have Claims Secured by Property                                        page 1 of 1
                       Case 21-52236-wlh                    Doc 1     Filed 03/18/21 Entered 03/19/21 10:00:08                              Desc
                                                                     Petition Page 34 of 64
     Fill in this information to identify your case:

     Debtor 1           Ana                                       Belmont
                        First Name                Middle Name               Last Name

     Debtor 2
     (Spouse, if filing) First Name                Middle Name              Last Name


     United States Bankruptcy Court for the: Northern District of Georgia
                                                                                                                                            [:-.1 Check if this is an
     Case number
      (If known)                                                                                                                                  amended filing



    Official Form 106E/F
    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                      12/15
    Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
    List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
    A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
    creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
    needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
    any additional pages, write your name and case number (if known).

                     List All of Your PRIORITY Unsecured Claims

        Do any creditors have priority unsecured claims against you?
        •     No. Go to Part 2.
        U Yes.
    2. List all of Your priority unsecured claims. If a creditor has more than one Priority unsecured claim, list the creditor separately for each claim. For
       each claim listed, identify what type of claim it is, If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
       nonpriority amounts. As much as possible, list the claims in alphabetical order according to the cred tor's name. If you have more than two priority
       unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet)




                                                                    Last 4 digits of account number
            Priority Creditor's Name

                                                                    When was the debt incurred?
            Number          Street

                                                                    As of the date you file, the claim is: Check all that apply.
                                                                    O Contingent
            City                          State     ZIP Code
                                                                    • Unliquidated
            Who incurred the debt? Check one.
                                                                    U Disputed
            U Debtor 1 only
            U Debtor 2 only                                         Type of PRIORITY unsecured claim:
            U Debtor 1 and Debtor 2 only                            O Domestic support obligations
            0 At least one of the debtors and another               U Taxes and certain other debts you owe the government
            Ll Check if this claim is for a community debt          U Claims for death or personal injury while you were
            Is the claim subject to offset?                           intoxicated
            Cl No                                                   U Other. Specify
            O Yes
7T1
                                                                    Last 4 digits of account number ___                            $
            Priority Creditor's Name
                                                                    When was the debt incurred?
            Number           Street
                                                                    As of the date you file, the claim is: Check all that apply.
                                                                    LI   Contingent
            City                          State     ZIP Code        •    Unliquidated
            Who incurred the debt? Check one.                       1-.3 Disputed
            O Debtor 1 only
                                                                    Type of PRIORITY unsecured claim:
            LI  Debtor 2 only
                                                                    1:1 Domestic support obligations
            1:1 Debtor 1 and Debtor 2 only
                                                                    U Taxes and certain other debts you owe the government
            LI At least one of the debtors and another
                                                                    U Claims for death or personal injury while you were
            O Check if this claim is for a community debt             intoxicated
1           Is the claim subject to offset?                         U Other. Specify
            LI  No
            1:1 Yes


    Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                     page 1 of 6
                   Case 21-52236-wlh                     Doc 1          Filed 03/18/21 Entered 03/19/21 10:00:08                      Desc
Debtor 1          Ana                                 Belmont                              Case number (if known)
                                                                       Petition Page 35 of 64
                 First Name       Middle Name          Last Name


                Your PRIORITY Unsecured Claims — Continuation Page

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.



                                                                   Last 4 digits of account number
      Priority Creditor's Name

                                                                   When was the debt incurred?
      Number           Street

                                                                   As of the date you file, the claim is: Check all that apply.

                                                                   O Contingent
      City                               State    ZIP Code         • Unliquidated
                                                                   O Disputed
      Who incurred the debt? Check one.
      O Debtor 1 only                                              Type of PRIORITY unsecured claim:
      CI Debtor 2 only                                             • Domestic support obligations
      O Debtor 1 and Debtor 2 only                                 CITaxes and certain other debts you owe the government
      O At least one of the debtors and another                    O Claims for death or personal injury while you were
                                                                     intoxicated
      U Check if this claim is for a community debt
                                                                   O Other. Specify

      Is the claim subject to offset?
      U No
      O Yes

2.4
                                                                   Last 4 digits of account number
      Priority Creditor's Name

                                                                   When was the debt incurred?
      Number           Street

                                                                   As of the date you file, the claim is: Check all that apply.

                                                                       O Contingent
       City                              State    ZIP Code             • Unliquidated
                                                                       O Disputed
      Who incurred the debt? Check one.
       O Debtor 1 only                                                 Type of PRIORITY unsecured claim:
       O Debtor 2 only                                                   Domestic support obligations
       O Debtor 1 and Debtor 2 only                                    CITaxes and certain other debts you owe the government
       CI At least one of the debtors and another                      O Claims for death or personal injury while you were
                                                                         intoxicated
       U Check if this claim is for a community debt
                                                                       O Other. Specify

       Is the claim subject to offset?
       1:1 No
       CI Yes

                                                                       Last 4 digits of account number
       Priority Creditor's Name

                                                                       When was the debt incurred?
       Number           Street

                                                                       As of the date you file, the claim is: Check all that apply.

                                                                       O Contingent
       City                               State    ZIP Code            •  Unliquidated
                                                                       CI Disputed
       Who incurred the debt? Check one.
       • Debtor 1 only                                                 Type of PRIORITY unsecured claim:
       O Debtor 2 only
                                                                       O Domestic support obligations
       O Debtor 1 and Debtor 2 only
                                                                       O Taxes and certain other debts you owe the government
         At least one of the debtors and another
                                                                       O Claims for death or personal injury while you were
                                                                          intoxicated
       LI Check if this claim is for a community debt
                                                                       LI Other. Specify
       Is the claim subject to offset?
        LINo
        CI Yes

Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                               page 2 of 6
                       Case 21-52236-wlh                       Doc 1     Filed 03/18/21 Entered 03/19/21 10:00:08                                   Desc
Debtor 1              Ana
                     First Name        Middle Name
                                                         Belmont
                                                         Last Name
                                                                        Petition Page 36 of 64
                                                                                            Case number (if known)


                   List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
      D  No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      VI Yes

 4. List all Of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim If. a creditor has more than one
    nonpriority Unsecured claim, list the creditor separately for each claim, For each claim listed, identify what type of claim it is D notlist claims
                                                                                                                                                 c ms already
      included in Part 1. If more than one creditor holds a particular claim list the other creditors in Part 3 If y             oclraethanih
                                                                                                                           have more         r nonpriority unsecured
                                                                                                                                           three
      claims fill out the Continuation Page of pert 2




       SYNCB/BRANDSMART                                                              Last 4 digits of account number 7          4     8    7                  668.00
       Nonpriority Creditors Name
                                                                                    When was the debt incurred?           01/03/18
       PO BOX 965036
       Number              Street

          Orlando                                      FL             32896
       City                                            State         ZIP Code        As of the date you file, the claim is: Check all that apply.

                                                                                     LI Contingent
       Who incurred the debt? Check one.                                                Unliquidated
        rha Debtor 1 only                                                            LI Disputed
        LI Debtor 2 only
        LI Debtor 1 and Debtor 2 only                                                Type of NONPRIORITY unsecured claim:
        U At least one of the debtors and another                                    Li Student loans
        Li Check if this claim is for a community debt                               U Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
        Is the claim subject to offset?                                              U Debts to pension or profit-sharing plans, and other similar debts
        V:1 No                                                                       la Other. Specify     Charge Account
          U Yes

                                                                                     Last 4 digits of account number 4 0 0
          Nonpriority Creditors Name                                                 When was the debt incurred?     12/02/17
          PO BOX 982238
          Number           Street

                                                       TX             79998          As of the date you file, the claim is: Check all that apply.
          El Paso
          City                                         State         ZIP Code
                                                                                     LI Contingent
          Who incurred the debt? Check one.                                             Unliquidated
                                                                                     LI Disputed
          •      Debtor 1 only
          LI Debtor 2 only
                                                                                     Type of NONPRIORITY unsecured claim:
          LI Debtor 1 and Debtor 2 only
          LI At least one of the debtors and another                                 U Student loans
                                                                                     U Obligations arising out of a separation agreement or divorce
          U Check if this claim is for a community debt                                 that you did not report as priority claims
          Is the claim subject to offset?                                            LI Debts to pension or profit-sharing plans, and other similar debts
                                                                                     a    Other. Specify   Credit Card
          • No
          U Yes

4.3
              CAPITAL ONE BANK USA NA                                                Last 4 digits of account number        1 2 9              9              288.00
          Nonpriority Creditors Name
                                                                                     When was the debt incurred?           02/04/18
              PO BOX 31293
          Number            Street

              Salt Lake City                            UT             84131
                                                                                     As of the date you file, the claim is: Check all that apply.
          City                                         State         ZIP Code

                                                                                     LI Contingent
          Who incurred the debt? Check one.
                                                                                        Unliquidated
             Debtor 1 only                                                           U Disputed
          LI Debtor 2 only
          U Debtor 1 and Debtor 2 only                                               Type of NONPRIORITY unsecured claim:
          LI At least one of the debtors and another
                                                                                     Li Student loans
          U Check if this claim is for a community debt                              U Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
          Is the claim subject to offset?
                                                                                     LI Debts to pension or profit-sharing plans, and other similar debts
          cif No
                                                                                     17   Other. Specify   Credit Card
          U Yes



Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                            page3 of 6
                      Case 21-52236-wlh                        Doc 1      Filed 03/18/21 Entered 03/19/21 10:00:08                                     Desc
Debtor 1            Ana                                  Belmont
                                                          Last Name
                                                                         Petition Page 37 of 64
                                                                                             Case number             (if known)
                    First Name      .   Middle Name



               Your NONPRIORITY Unsecured Claims — Continuation Page



                          entries         this page, number them beginning with 4.4, followed by 4.5,



                                                                                       Last 4 digits of account number 3               0       1   2           $    4,043.00
      CAPITAL ONE BANK USA NA
      Nonpriority Creditor's Name
                                                                                       When was the debt incurred?            10/21/19
      PO BOX 31293
      Number              Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      Salt Lake City                                    UT             84131
      City                                             State          ZIP Code         0 Contingent
                                                                                         Unliquidated
      Who incurred the debt? Check one.                                                O Disputed
      V Debtor 1 only
      CIDebtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 only                                                     O Student loans
      O At least one of the debtors and another                                        LIObligations arising out of a separation agreement or divorce that
                                                                                         you did not report as priority claims
      O Check if this claim is for a community debt
                                                                                       O Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  121   Other. Specify   Credit Card
      121 No
      LI Yes

4.5
                                                                                        Last 4 digits of account number 7              1       0   0           $    7,306.00
       Upgrade Inc
      Nonpriority Creditor's Name
                                                                                        When was the debt incurred?               11/13/19
       2 NORTH CENTRAL AVE, 10TH FLR 10TH FLOOR
      Number              Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Phoenix                                           AZ             85004
      City                                              State         ZIP Code          CIContingent
                                                                                          Unliquidated
      Who incurred the debt? Check one.                                                 O Disputed
      141 Debtor 1 only
      O Debtor 2 only                                                                   Type of NONPRIORITY unsecured claim:
      LI Debtor 1 and Debtor 2 only                                                     O Student loans
      O At least one of the debtors and another                                         O Obligations arising out of a separation agreement or divorce that
                                                                                          you did not report as priority claims
       U Check if this claim is for a community debt
                                                                                        O Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  V    Other. Specify   Loan
       a No
       CI     Yes

                                                                                                                                                               $     6,679.00
                                                                                        Last 4 digits of account number            3       1   4   6
       US DEPT. OF EDUCATION/GL
       Nonpriority Creditor's Name
                                                                                        When was the debt incurred?               01/02/20
       2401 INTERNATIONAL LANE POB 7859
       Number              Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Madison                                           WI             53704
       City                                             State          ZIP Code         0    Contingent
                                                                                             Unliquidated
       Who incurred the debt? Check one.                                                0    Disputed
       V Debtor 1 only
       O Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
       ij Debtor 1 and Debtor 2 only                                                    O Student loans
       O At least one of the debtors and another                                        CI Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
       O Check if this claim is for a community debt
                                                                                        O Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                   O Other. Specify
       611 No
       O Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 4 of
                      Case 21-52236-wlh                         Doc 1     Filed 03/18/21 Entered 03/19/21 10:00:08                                     Desc
Debtor 1            Ana
                    First Name      Middle Name
                                                         Belmont
                                                          Last Name
                                                                         Petition Page 38 of 64
                                                                                             Case number (if known)



                   Your NONPRIORITY Unsecured Claims — Continuation Page



          listing any entries on this page, number them beginning with 4.4, followed                    4.5, and so forth.



                                                                                        Last 4 digits of account number        9    0     2     1                $      487.00
      SECURITY SERVICES FC
     Nonpriority Creditor's Name
                                                                                        When was the debt incurred?           01/20/18
      7323 HWY 90 WEST
     Number              Street
                                                                                        As of the date you file, the claim is: Check all that apply.
      San Antonio                                       TX             78227
     City                                               State         ZIP Code          O    Contingent
                                                                                             Unliquidated
     Who incurred the debt? Check one.                                                  O    Disputed
      V Debtor 1 only
      O Debtor 2 only                                                                   Type of NONPRIORITY unsecured claim:
      O Debtor 1 and Debtor 2 only                                                      LI   Student loans
      0       At least one of the debtors and another                                   O    Obligations arising out of a separation agreement or divorce that
                                                                                             you did not report as priority claims
      O Check if this claim is for a community debt
                                                                                        O    Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                        Other. Specify   Credit Card
      •       No
     LI       Yes




                                                                                        Last 4 digits of account number        2     3    0     0                $ 5,000.00
      Grady Hospital
      Nonpriority Creditor's Name
                                                                                        When was the debt incurred?           02/05/21
      80 Jesse Hill Jr Dr SE
      Number              Street
                                                                                        As of the date you file, the claim is: Check all that apply.
      Atlanta                                            GA            30303
      City                                              State         ZIP Code          O    Contingent
                                                                                             Unliquidated
      Who incurred the debt? Check one.                                                 O    Disputed
      V Debtor 1 only
      O Debtor 2 only                                                                   Type of NONPRIORITY unsecured claim:
      LI      Debtor 1 and Debtor 2 only                                                O    Student loans
      O At least one of the debtors and another                                         O    Obligations arising out of a separation agreement or divorce that
                                                                                             you did not report as priority claims
      O Check if this claim is for a community debt
                                                                                        O    Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   la   Other. Specify    Medical
      g No
      LI      Yes


                                                                                                                                                                 $ 5,000.00
                                                                                        Last 4 digits of account number         4    8     6    2
      Anthem
      Nonpriority Creditors Name
                                                                                        When was the debt incurred?           02/05/21
      P.O. Box 105370
      Number              Street
                                                                                        As of the date you file, the claim is: Check all that apply.
          Atlanta                                        GA            30348
      City                                              State         ZIP Code          O    Contingent
                                                                                             Unliquidated
      Who incurred the debt? Check one.                                                 CI   Disputed
          V Debtor 1 only
          O Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
          •   Debtor 1 and Debtor 2 only                                                O    Student loans
      LI      At least one of the debtors and another
                                                                                        1:1 Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
          O Check if this claim is for a community debt
                                                                                        O Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   10 Other. Specify      Medical
          g   No
          O Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 5 of   6
                    Case 21-52236-wlh                      Doc 1    Filed 03/18/21 Entered 03/19/21 10:00:08                    Desc
    Debtor 1       An
                   First Name    Middle Name
                                                     Belmont
                                                      Last Name
                                                                   Petition Page 39 of 64
                                                                                        Case number (If known)



    Part 4:    Add the Amounts for Each Type of Unsecured Claim



    6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
;      Add the amounts for each type of unsecured claim.




                     6a. Domestic support obligations                                 6a.                           0.00
    Total claims
    from Part 1
                     6b. Taxes and certain other debts you owe the
                         government                                                   6b.                           0.00

                     6c. Claims for death or personal injury while you were
                         intoxicated                                                  6c.                           0.00

                     6d. Other. Add all other priority unsecured claims.
                         Write that amount here.                                      6d.    + $                    0.00



                     6e. Total. Add lines 6a through 6d.                              6e.
                                                                                                                    0.00


                                                                                              Total claim


                     6f Student loans                                                  6f.                    6,679.00
    Total claims
    " rn Part 2       6g. Obligations arising out of a separation agreement
                          or divorce that you did not report as priority
                          claims                                                       6g.     $                    0.00

                     6h. Debts to pension or profit-sharing plans, and other
                         similar debts                                                 6h                           0.00

                     6i. Other. Add all other nonpriority unsecured claims.
                         Write that amount here.                                       6i.   + $             26,295.00


                     6j. Total. Add lines 6f through 6i.                               6j.
                                                                                                             32,974.00




     Official Form 106E/F                                  Sche,cjilkg/Ei.graijilocsAVIA.lia_ye.1)nsecured Claims                              page 6   oft..
                      Case 21-52236-wlh                Doc 1      Filed 03/18/21 Entered 03/19/21 10:00:08                                 Desc
                                                                 Petition Page 40 of 64
 Fill in this information to identify your case:


 Debtor               Ana                                      Belmont
                      First Name   •         Middle Name                 Last Name

 Debtor 2
 (Spouse If filing)   First Name             Middle Name                 Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number
  (If known)                                                                                                                              CI Check if this is an
                                                                                                                                              amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      VI No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
      U     Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/13).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or lease                                State what the contract or lease is for




      Name


      Number             Street

      City                               State      ZIP Code



       Name

       Number            Street


       c.                                State      ZIP Code
2.3

       Name

       Number            Street

                                         State      ZIP Code




       Number             Street




       Number             Street




Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                            page 1 of 1
                    Case 21-52236-wlh                          Doc 1           Filed 03/18/21 Entered 03/19/21 10:00:08                                 Desc
                                                                              Petition Page 41 of 64
 Fill in this information to identify your case:

 Debtor 1           Ana                                                   Belmont
                    First Naive                     Middle Name                     Last Name

 Debtor 2
 (Spouse, if filing) First Name                     Middle Name                     Last Name


 United States Bankruptcy Court for the:       Northern District of Georgia

 Case number
 (If known)
                                                                                                                                                     U Check if this is an
                                                                                                                                                       amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                            12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      0     No
      ▪     Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
    Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      •     No. Go to line 3.
      0     Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                  No
            0     Yes. In which community state or territory did you live?                                   . Fill in the name and current address of that person.



                  Name of your spouse, former spouse, or legal equivalent



                  Number             Street



                  City                                            State                         ZIP Code


  3   In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
       shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
       Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
       Schedule E/F, or Schedule G to fill out Column 2.

          Column 1: Your codebtor                                                                                    Column 2: The creditor to whom You owe

                                                                                                                     Check all Schedules that aPPIY.'

           Robert Arizmendi                                                                                           if Schedule D, line 1.1
           Name
           629 Wendy drive                                                                                            O Schedule E/F, line
           Number           Street                                                                                    O Schedule G, line
           Montilcello                                                GA                        31064
           City                                                       State                       ZIP Code


                                                                                                                      O Schedule D, line
           Name
                                                                                                                      O Schedule E/F, line
           Number           Street                                                                                    CI   Schedule G, line

           City                                                       State                       ZIP Code


                                                                                                                      O Schedule D, line
           Name
                                                                                                                      O Schedule E/F, line
           Number           Street                                                                                    O Schedule G, line

           C.                                                         State                       ZIP Code



Official Form 106H                                                             Schedule H: Your Codebtors                                                   page 1 of 1
                    Case 21-52236-wlh               Doc 1      Filed 03/18/21 Entered 03/19/21 10:00:08                                      Desc
                                                              Petition Page 42 of 64

 Fill in this information to identify your case:


 Debtor 1            Ana                                    Relmnnt
                     First Name            Middle Name                  Last Name

 Debtor 2
 (Spouse, if filing) First Name            Middle Name                  Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number                                                                                                Check if this is:
 (If known)
                                                                                                            LI An amended filing
                                                                                                            U A supplement showing postpetition chapter 13
                                                                                                              income as of the following date:
Official Form 1061                                                                                                MM / DD/ YYYY

Schedule I: Your Income                                                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


                   Describe Employment


      Fill in your employment
      information.                                                            Debtor 1                                      Debtor 2 or non-filing spouse

      If you have more than one job,
      attach a separate page with
      information about additional       Employment status                 Ed Employed                                      D Employed
      employers.                                                           1:1 Not employed                                   Not employed

      Include part-time, seasonal, or
      self-employed work.
                                         Occupation
      Occupation may include student
      or homemaker, if it applies.
                                         Employer's name                  Jasper County Board of Ed

                                         Employer's address               1411 College Street
                                                                           Number Street                                  Number   Street




                                                                          Monticello                  GA
                                                                          City                State    ZIP Code           City                 State ZIP Code

                                         How long employed there?              4 yrS


                    Give Details About Monthly Income

      Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
      spouse unless you are separated.
      If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
      below. If you need more space, attach a separate sheet to this form.

                                                                                                        For Debtor 1       For Debtor 2 or
                                                                                                                           non-filing spouse
  2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.              2.       $   1,960.00

  3    Estimate and list monthly overtime pay.                                                3. +$                       + $


  4. Calculate gross income. Add line 2 + line 3.                                             4.       $   1,960.00                   0.00




Official Form 1061                                                 Schedule I: Your Income                                                           page 1
                 Case 21-52236-wlh               Doc 1       Filed 03/18/21 Entered 03/19/21 10:00:08                                    Desc
                                                            Petition Page 43 of 64
Debtor 1        Ana                            Belmont                                        Case number (If known)
                First Name   Middle Name       Last Name



                                                                                             For Debtor 1.              For:Detitor 2 or .
                                                                                                                       ,non4filinq spouse .

    Copy line 4 here                                                              4   4.     $    1,960.00                          0.00

 5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                5a.    $       338.00               $
     5b. Mandatory contributions for retirement plans                                 5b.    $                            $

     5c. Voluntary contributions for retirement plans                                 5c.    $                            $
     5d. Required repayments of retirement fund loans                                 5d.    $       118.00               $
     5e. Insurance                                                                    5e.    $                            $
     5f. Domestic support obligations                                                 5f.    $                            $

     5g. Union dues                                                                   5g.    $                            $

     5h. Other deductions. Specify:                                                   5h. + $                          + $

  6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +51+ 5g + 5h.       6.     $       456.00               $          0.00

  7. Calculate total monthly take-home pay. Subtract line 6 from line 4.              7.     $    1,504.00                           0.00

 8. List all other income regularly received:
     8a. Net income from rental property and from operating a business,
         profession, or farm
         Attach a statement for each property and business showing gross
         receipts, ordinary and necessary business expenses, and the total                               0.00
         monthly net income.                                                          8a.
     8b. Interest and dividends                                                       8b.    $           0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
         Include alimony, spousal support, child support, maintenance, divorce                           0.00
         settlement, and property settlement.                                  8c.

     8d. Unemployment compensation                                                    8d.    $           0.00
     8e. Social Security                                                              8e.    $

      8f. Other government assistance that you regularly receive
          Include cash assistance and the value (if known) of any non-cash assistance
          that you receive, such as food stamps (benefits under the Supplemental
          Nutrition Assistance Program) or housing subsidies.
          Specify:                                                                  81.      $           0.00

      8g. Pension or retirement income                                                8g.    $

      8h. Other monthly income. Specify:                                              8h. +$             0.00            +$

  s. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.             9.                0.00                        0.00

 10. Calculate monthly income. Add line 7 + line 9.                                           $    1,504.00                           0.00        $     1,504.00
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.        10.

 11.State all other regular contributions to the expenses that you list in Schedule J
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
     Specify:                                                                                                                             11. +   $

 12.Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                           12.
                                                                                                                                                  $     1,504.00
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies
                                                                                                                                                  Combined
                                                                                                                                                  monthly income
   13.Do you expect an increase or decrease within the year after you file this form?
      121 No.
          Yes. Explain:


 Official Form 1061                                              Schedule I: Your Income                                                              page 2
                      Case 21-52236-wlh                  Doc 1      Filed 03/18/21 Entered 03/19/21 10:00:08                                   Desc
                                                                   Petition Page 44 of 64

  Fill in this information to identify your case:

  Debtor 1            Ana                                       Belmont
                      First Name                Middle Name               Last Name                        Check if this is:
  Debtor 2                                                                                                 U An amended filing
   (Spouse, if filing) First Name               Middle Name                Last Name
                                                                                                           U A supplement showing postpetition chapter 13
   United States Bankruptcy Court for the: Northern District of Georgia                                      expenses as of the following date:
   Case number                                                                                                 MM / DD / YYYY
   (If known)




 Official Form 106J
 Schedule J. Your Expenses                                                                                                                                  12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.

 Part 1:             Describe Your Household

    Is this a joint case?

    21 No. Go to line 2.
    0 Yes. Does Debtor 2 live in a separate household?

                 CI No
                 O Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                  LI No                                       Dependent's relationship to              Dependent's     Does dependent live
    Do not list Debtor 1 and                g      Yes. Fill out this information for   Debtor 1 or Debtor 2                     age             with you?
    Debtor 2.                                      each dependent
                                                                                                                                                 LI No
    Do not state the dependents'                                                        daughter                                 16
    names.                                                                                                                                          Yes
                                                                                                                                                 CI No
                                                                                        daughter                                 12
                                                                                                                                                    Yes
                                                                                                                                                 U No
                                                                                        son                                      14
                                                                                                                                                 A Yes
                                                                                                                                                 U No
                                                                                                                                                 0 Yes
                                                                                                                                                      No
                                                                                                                                                 0    Yes

 3. Do your expenses include
                                                   No
    expenses of people other than
  _yourself andi9ur dependents?                    Yes


 Part 2:          Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule Your Income (Official Form 1061.)                                                   Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and
     any rent for the ground or lot.                                                                                       4.

      If not included in line 4:
      aa. Real estate taxes                                                                                                4a.        $

       4b.    Property, homeowner's, or renter's insurance                                                                 4b.        $

       4c.    Home maintenance, repair, and upkeep expenses                                                                4c.        $

       4d.    Homeowner's association or condominium dues                                                                  4d.        $

Official Form 106J                                                Schedule J: Your Expenses                                                             page 1
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                                                              Petition Page 45 of 64

 Debtor 1         Ana                            Belmont                                  Case number (if known)
                  First Name    Middle Name       Last Name




                                                                                                                              Your expenses


  5. Additional mortgage payments for your residence, such as home equity loans                                    5.

  6. Utilities:
       6a. Electricity, heat, natural gas                                                                          6a.        $

       6b. Water, sewer, garbage collection                                                                        6b.        $

       6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.        $                80.00
       6d. Other. Specify:                                                                                         6d.        $                 0.00
  7. Food and housekeeping supplies                                                                                7.                         700.00

  8. Childcare and children's education costs                                                                      8.                           0.00
  9. Clothing, laundry, and dry cleaning                                                                           9.                         120.00
10. Personal care products and services                                                                            10.                        200.00
,11. Medical and dental expenses                                                                                   11.

12. Transportation. Include gas, maintenance, bus or train fare.                                                                              100.00
    Do not include car payments.                                                                                   12.

13. Entertainment, clubs, recreation, newspapers, magazines, and books                                             13.                          0.00
14. Charitable contributions and religious donations                                                               14.

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.

       15a. Life insurance                                                                                         15a.                         9.50
       15b. Health insurance                                                                                       15b.                         0.00
       15c. Vehicle insurance                                                                                      15c.                       200.00
       15d. Other insurance. Specify:                                                                              15d.


.16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                    16.

17. Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                             17a.       $

       17b. Car payments for Vehicle 2                                                                             17b.       $

       17c. Other. Specify.                                                                                        17c.       $

       17d. Other. Specify:                                                                                        17d.       $

 18. Your payments of alimony, maintenance, and support that you did not report as deducted from
     your pay on line 5, Schedule I, Your Income (Official Form 1061).
                                                                                                                        18.   $

 19. Other payments you make to support others who do not live with you.

       Specify:                                                                                                         19.   $

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                            20a.       $

       20b. Real estate taxes                                                                                      20b.       $

       20c. Property, homeowner's, or renter's insurance                                                           20c.       $

       20d. Maintenance, repair, and upkeep expenses                                                               20d.       $

       20e. Homeowner's association or condominium dues                                                            20e.       $



Official Form 106J                                            Schedule J: Your Expenses                                                         page 2
                    Case 21-52236-wlh                   Doc 1    Filed 03/18/21 Entered 03/19/21 10:00:08                            Desc
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  Debtor 1         Ana                             Belmont                                      Case number (if known)
                   First Name    Middle Name        Last Name




' 21.    Other. Specify:                                                                                                 21.    +$



22.      Calculate your monthly expenses.

         22a. Add lines 4 through 21.                                                                                22a.              1,409.50
         22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                        22b.

         22c. Add line 22a and 22b. The result is your monthly expenses.                                             22c.              1,409.50


 23. Calculate your monthly net income.
                                                                                                                                       1,504.00
        23a.   Copy line 12 (your combined monthly income) from Schedule I.                                              23a.

        23b.   Copy your monthly expenses from line 22c above.                                                           23b.    $     1,409.50

        23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                                            94.50
               The result is your monthly net income.                                                                    23c.




 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

        For example, do you expect to finish paying for your car loan within the year or do you expect your
        mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
        U Yes.       Explain here:




 Official Form 106J                                             Schedule J: Your Expenses                                                    page 3
                       Case 21-52236-wlh                    Doc 1    Filed 03/18/21 Entered 03/19/21 10:00:08                             Desc
                                                                    Petition Page 47 of 64
Fill in this information to identify your case:

Debtor 1           Ana                                        Relmnnt
                    First Name                Middle Name                 Last Name

Debtor 2
(Spouse, if filing) First Name                Middle Name                 Last Name


United States Bankruptcy Court for the: Northern District of Georgia
Case number
                                                                                                                                           U Check if this is an
 (If known)                                                                                                                                      amended filing



  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                            12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
  •   creditors have claims secured by your property, or
  •   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

     Part 1:         List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

              Identify the creditor and the property that is collateral               What do you intend to do with the property that   Dld you claim the property
                                                                                      secures a debt?                                   as exempt on Schedule C?

           Creditors                                                                  0 Surrender the property.                            No
           name:     USDA / RURAL DEVELOPMENT
                                                                                      0 Retain the property and redeem it.              0 Yes
          Description of 629 Wendy drive
          property
                                                                                      0 Retain the property and enter into a
          securing debt: Monticello, GA
                                                                                         Reaffirmation Agreement.
                                                                                      0 Retain the property and [explain]:


          Creditor's                                                                  0 Surrender the property.                         0 No
          name:             Bank of America
                                                                                      LI Retain the property and redeem it.             0 Yes
          Description of 2019 Chevy Silvarado
          property
                                                                                      D Retain the property and enter into a
          securing debt:                                                                 Reaffirmation Agreement.
                                                                                      0 Retain the property and [explain]:


           Creditor's                                                                 0 Surrender the property.                             No
           name:
                                                                                      0 Retain the property and redeem it.               0 Yes
           Description of
           property
                                                                                      0 Retain the property and enter into a
                                                                                         Reaffirmation Agreement.
           securing debt:
                                                                                      0 Retain the property and [explain]:

           Creditor's                                                                 LI Surrender the property.                         Li No
           name:
                                                                                      0 Retain the property and redeem it.               U Yes
           Description of
           property
                                                                                      LI Retain the property and enter into a
                                                                                         Reaffirmation Agreement.
           securing debt:
                                                                                      0 Retain the property and [explain]:


   Official Form 108                             Statement of Intention for Individuals Filing Under Chapter 7                                    page 1
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                                                            Petition Page 48 of 64
Debtor 1         Ana                           Belmont                                     Case number   (If known)
                 First Name    Middle Name      Last Name




  Part 2:        List Your Unexpired Personal Property Leases

  For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
  fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
  ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

       Describe your unexpired personal property leases                                                               VVill the lease be assumed?

      Lessor's name:                                                                                                  0 No
                                                                                                                      0 Yes
      Description of leased
      property:
      —ram

      Lessor's name:                                                                                                      No
                                                                                                                      0 Yes
      Description of leased
      property:


      Lessor's name:                                                                                                  El No

      Description of leased                                                                                           CI Yes
      property:


      Lessor's name:                                                                                                  CI No
                                                                                                                          Yes
      Description of leased
      property:


      Lessor's name:                                                                                                  U No
                                                                                                                      0
                                 „
                                                                                                                          Yes
      Description of leased
      property:


      Lessor's name:                                                                                                  CI No
                                                                                                                          Yes
      Description of leased
      property:


      Lessor's name:                                                                                                  Li No
                                          ,
                                                                                                                      0 Yes
      Description of leased
      property:




  Part 3:         Sign Below



     Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
     personal property that is subject to an unexpired lease.




      Signatur     f ebtor 1                                     Signature of Debtor 2

      Date                           '\                          Date
             MM/ DD / YY Ya                                               / DD /   `MY




Official Form 108                             Statement of Intention for Individuals Filing Under Chapter 7                            page 2
                        Case 21-52236-wlh               Doc 1       Filed 03/18/21 Entered 03/19/21 10:00:08                             Desc
                                                                   Petition Page 49 of 64

    Fill in this information to identify your case:

     Debtor 1           Ana                                    Belmont
                        First Name             Middle Name                  Last Name

     Debtor 2
     (Spouse, if filing) First Name            Middle Name                  Last Name


     United States Bankruptcy Court for the: Northern District of Georgia

     Case number                                                                                                                         U Check if this is an
                         of known)                                                                                                         amended filing




Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


    Part 1:        Summarize Your Assets


                                                                                                                                    Your assets
                                                                                                                                    Value of what you own

    1. Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                71,500.00
       la. Copy line 55, Total real estate, from Schedule A/B


        lb. Copy line 62, Total personal property, from Schedule A/B                                                                            45,550.00

        lc. Copy line 63, Total of all property on Schedule A/B                                                                          $     117,050.00


    Part 2:         Summarize Your Liabilities



                                                                                                                                     Your liabilities
                                                                                                                                     Amount you owe
    2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                         $     180,375.00
       2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D

    3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                        0.00
       3a.Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F

        3b.Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F                                        32,974.00
                                                                                                                                     +   $



                                                                                                           Your total liabilities              213,349.00


    Part 3:         Summarize Your Income and Expenses


    4. Schedule 1: Your Income (Official Form 1061)
                                                                                                                                                  1,504.00
        Copy your combined monthly income from line 12 of Schedule 1

    5. Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J
                                                                                                                                                  1,409.50


L



    Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                    page 1 of 2
                     Case 21-52236-wlh              Doc 1        Filed 03/18/21 Entered 03/19/21 10:00:08                             Desc
                                                                Petition Page 50 of 64
  Debtor 1          Ana                           Belmont                                       Case number (If known)
                    First Name   Middle Name      Last Name




   Part 4:         Answer These Questions for Administrative and Statistical Records

   6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

      LI No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
             Yes


   7. What kind of debt do you have?

             Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
             family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

      ij Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
         this form to the court with your other schedules.



   8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
      Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                      1,530.00




   9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                         Total claim


                   Part 4ón Schedule E/F, copy the following:


      9a. Domestic support obligations (Copy line 6a.)
                                                                                                                            0.00


      9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                             0.00


      9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)
                                                                                                                            0.00


      9d. Student loans. (Copy line 6f.)
                                                                                                                         6,679.00

      9e. Obligations arising out of a separation agreement or divorce that you did not report as                            0.00
          priority claims. (Copy line 6g.)

      9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)          +$                     0.00


      9g. Total. Add lines 9a through 9f.                                                                                6,679.00




Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information                                             page 2 of 2
                        Case 21-52236-wlh                 Doc 1    Filed 03/18/21 Entered 03/19/21 10:00:08                                             Desc
                                                                  Petition Page 51 of 64
Fill in this information to identify your case:


Debtor 1           Ana                                      Belmont
                    First Name              Middle Name                Last Name

Debtor 2
(Spouse, if filing) First Name              Middle Name                Last Name


United States Bankruptcy Court for the: Northern District of Georgia

Case number
(If known)
                                                                                                                                                       CI   Check if this is an
                                                                                                                                                            amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                                                  12/15


  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                     Sign Below



        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

        CI   No
        Ri Yes. Name of person        Jeffery Favors                                             . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                                  Signature (Official Form 119).




        Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
        that they are true and correct.




          Signature o       ebtor 1                                        Signature of Debtor 2


          Date                                                             Date
                 MM                                                                MM/   DD /   YYYY




   Official Form 106Dec                                     Declaration About an Individual Debtor's Schedules
      Case 21-52236-wlh              Doc 1    Filed 03/18/21 Entered 03/19/21 10:00:08                        Desc
                                             Petition Page 52 of 64
B2800 (Form 2800) (12/15)



                                 United States Bankruptcy Court
                              Northern                  District Of   Georgia

In re      Ana Belmont                                                              Case No.
                    Debtor
                                                                                    Chapter       7
               DISCLOSURE OF COMPENSATION OF BANKRUPTCY PETITION PREPARER
     [Must be filed with the petition if a bankruptcy petition preparer prepares the petition. 1] U.S.C. § 110(h)(2).]

1.         Under 11 U.S.C. § 110(h), I declare under penalty of perjury that I am not an attorney or employee of an
           attorney, that I prepared or caused to be prepared one or more documents for filing by the above-named
           debtor(s) in connection with this bankruptcy case, and that compensation paid to me within one year before
           the filing of the bankruptcy petition, or agreed to be paid to me, for services rendered on behalf of the
           debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

For document preparation services I have agreed to accept                                  175

Prior to the filing of this statement I have received                                       175

Balance Due                                                                                   0

2.         I have prepared or caused to be prepared the following documents (itemize):     see Form B119

and provided the following services (itemize):

3.         The source of the compensation paid to me was:
             Debtor                              Other (specify)

4.         The source of compensation to be paid to me is:
             Debtor                              Other (specify)

5.         The foregoing is a complete statement of any agreement or arrangement for payment to me for preparation
           of the petition filed by the debtor(s) in this bankruptcy case.

6.         To my knowledge no other person has prepared for compensation a document for filing in connection with
           this bankruptcy case except as listed below:

NAME                                            SOCIAL SECURITY NUMBER



                                                  XXX-XX-XXXX                                     3
                                                Social Security number of bankruptcy                  D te
                                                petition preparer*
                                              2133 Lae Suwanee Road, Ste 12, Suwanee, GA 30024
Printed name and title, if any, of              Address
Bankruptcy Petition Preparer


* If the bankruptcy petition preparer is not an individual, state the Social Security number of the officer, principal,
responsible person or partner of the bankruptcy petition preparer. (Required by 11 U.S.C. § 110).

A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of
Bankruptcy Procedure may result in fines or imprisonment or both. 11 US.C. 5C 110; 18 US.C. sC 156.
                      Case 21-52236-wlh                       Doc 1      Filed 03/18/21 Entered 03/19/21 10:00:08                        Desc
                                                                        Petition Page 53 of 64
  Fill in this information to identify the case:

 Debtor 1          Ana                                                    Belmont
                     First Name                 Middle Name                Last Name

 Debtor 2
 (Spouse, if filing) First Name                 Middle Name                Last Name


 United States Bankruptcy Court for the: Northern District of Georgia


 Case number                                                               Chapter     7
  (If known)




Official Form 119
Bankruptcy Petition Preparer's Notice, Declaration, and Signature                                                                                      12/15

Bankruptcy petition preparers as defined in 11 U.S.C. § 110 must fill out this form every time they help prepare documents that are filed in the
case. If more than one bankruptcy petition preparer helps with the documents, each must sign in Part 3. A bankruptcy petition preparer who
does not comply with the provisions of title 11 of the United States Code and the Federal Rules of Bankruptcy Procedure may be fined,
imprisoned, or both. 11 U.S.C. § 110; 18 U.S.C. § 156.




 Part 1:         Notice to Debtor



 Bankruptcy petition preparers must give the debtor a copy of this form and have the debtor sign it before they prepare any documents for
 filing or accept any compensation. A signed copy of this form must be filed with any document prepared.


        Bankruptcy petition preparers are not attorneys and may not practice law or give you legal advice, including the following:

       •       whether to file a petition under the Bankruptcy Code (11 U.S.C. § 101 et seq.);

       •       whether filing a case under chapter 7, 11, 12, or 13 is appropriate;

       •       whether your debts will be eliminated or discharged in a case under the Bankruptcy Code;

       II whether you will be able to keep your home, car, or other property after filing a case under the Bankruptcy Code;

       •       what tax consequences may arise because a case is filed under the Bankruptcy Code;

       •       whether any tax claims may be discharged;

       •       whether you may or should promise to repay debts to a creditor or enter into a reaffirmation agreement;

       •       how to characterize the nature of your interests in property or your debts; or

       •       what procedures and rights apply in a bankruptcy case.




           The bankruptcy petition preparer Jeffery Favors                                                                        has notified me of
                                            Name
           any maximum allowable fee before preparing any document for filing or accepting any fee.




                                                                                                          Date
           Signature o Deb or 1 ackno edging receipt of this notice                                              MM / DD / YYYY



                                                                                                          Date
           Signature of Debtor 2 acknowledging receipt of this notice                                            MM / DD / YYYY




Official Form 119                                  Bankruptcy Petition Preparer's Notice, Declaration, and Signature                             page 1
                   Case 21-52236-wlh                             Doc 1            Filed 03/18/21 Entered 03/19/21 10:00:08                                         Desc
                                                                                 Petition Page 54 of 64

Debtor 1       Ana                                                                Belmont                           Case number (if known)
                First Name            Middle Name            Last Name



 Part 2:        Declaration and Signature of the Bankruptcy Petition Preparer


 Under penalty of perjury, I declare that:
 •   I am a bankruptcy petition preparer or the officer, principal, responsible person, or partner of a bankruptcy petition preparer;

 N I or my firm prepared the documents listed below and gave the debtor a copy of them and the Notice to Debtor by Bankruptcy Petition
   Preparer as required by 11 U.S.C. §§ 110(b), 110(h), and 342(b); and

 •   if rules or guidelines are established according to 11 U.S.C. § 110(h) setting a maximum fee for services that bankruptcy petition
     preparers may charge, I or my firm notified the debtor of the maximum amount before preparing any document for filing or before
     accepting any fee from the debtor.

     Jeffery Favors
     Printed name                                           Title, if any                        Firm name, if it applies

     2133 Lawrenceville Suwanee Rd Ste 12
     Number                  Street

      Suwanee                                            GA           30024                       404-453-3487
     City                                                   State            ZIP Code            Contact phone


     I or my firm prepared the documents checked below and the completed declaration is made a part of each document that I check:
     (Check all that apply.)

     A Voluntary Petition (Form 101)                                             Schedule I (Form 1061)                           CI   Chapter 11 Statement of Your Current Monthly
                                                                                                                                       Income (Form 1229)
            Statement About Your Social Security Numbers                    A    Schedule J (Form 106J)
            (Form 121)                                                                                                            CI    Chapter 13 Statement of Your Current Monthly
                                                                                 Declaration About an Individual Debtor's               Income and Calculation of Commitment Period
            Summary of Your Assets and Liabilities and                           Schedules (Form 106Dec)                                (Form 122C-1)
            Certain Statistical Information (Form 106Sum)
                                                                                 Statement of Financial Affairs (Form 107)        CI    Chapter 13 Calculation of Your Disposable
            Schedule NB (Form 106A/B)                                                                                                   Income (Form 122C-2)
                                                                                 Statement of Intention for Individuals Filing
            Schedule C (Form 106C)                                               Under Chapter 7 (Form 108)                       0     Application to Pay Filing Fee in Installments
                                                                                                                                        (Form 103A)
            Schedule D (Form 106D)                                               Chapter 7 Statement of Your Current
                                                                                 Monthly Income (Form 122A-1)                           Application to Have Chapter 7 Filing Fee
     41 Schedule E/F (Form 106E/F)
                                                                                                                                        Waived (Form 103B)
                                                                            CI   Statement of Exemption from Presumption
            Schedule G (Form 106G)                                               of Abuse Under § 707(b)(2)                             A list of names and addresses of all creditors
                                                                                 (Form 122A-1Supp)
     A Schedule H (Form 106H)                                                                                                           (creditor or mailing matrix)
                                                                                 Chapter 7 Means Test Calculation                 A     Other   Pay Stubs
                                                                                 (Form 122A-2)


     Bankruptcy petition preparers must sign and give their Social Security numbers. If more than one bankruptcy petition preparer prepared the documents
     to which this declaration applies, the signature and Social Security number of each preparer must be provided. 11 U.S.C. § 110.




                                                                                                       17 6 - 5 4 - 7 8 8 6                             Date
                                              preparer or offi      nncipal, responsible             Social Security number of person who signed               •       YYYY



      Jeffery Favors
     Printed name


                                                                                                                                                        Date
     Signature of bankruptcy petition preparer or officer, principal, responsible                    Social Security number of person who signed               mm / DD / YYYY
     person, or partner



     Printed name




Official Form 119                                                Bankruptcy Petition Preparer's Notice, Declaration, and Signature                                              page 2
Case 21-52236-wlh          Doc 1     Filed 03/18/21 Entered 03/19/21 10:00:08        Desc
                                    Petition Page 55 of 64



                    UNITED STATES BANKRUPTCY COURT
             NORTHERN DISTRICT OF GEORGIA BANKRUPTCY COURT

In re
         Ana Belmont,

                                                                  Case No.

         [Set forth here all names including married,
         maiden and trade names used by debtor within
         last 8 years"
                                             Debtor(s).
         Address
         416 Bruce Way
         Lilburn, GA 30047
                                                                  Chapter 7
         Last four digits of Social Security or Individual
         Taxpayer-Identification (ITIN) No(s)., (if any):
         1052
         Employer Tax Identification (EIN) No(s). (if any):
         None.

                                      AFFIDAVIT OF MAILING

        I hereby swear that I mailed a copy of the herein-filed

          CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

to the U.S. Trustee at the following address:
        Office of the U.S. Trustee
        75 Spring Street SW
        Atlanta, GA 30303

and the below-listed creditor(s) at the address(es) indicated:

            USDA / RURAL DEVELOPMENT
            P.O. BOX 66889
            St. Louis, MO 63166

            Bank of America
            PO BOX 45144
            Jacksonville, FL 32232


with First Class postage prepaid, on.




                                                                        AFFIDAVIT OF MAILING 1 -2
Case 21-52236-wlh       Doc 1    Filed 03/18/21 Entered 03/19/21 10:00:08            Desc
                                Petition Page 56 of 64



State of Georgia
County of Gwinnett
        I certify that I know or have satisfactory evidence that Ana Belmont is the person who
appeared before me, and said person acknowledged that she (he) signed this instrument and
acknowledged it to be his (her) free and voluntary act for the uses and purposes mentioned in
the instrument.

       Dated


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                                                                  AFFIDAVIT OF MAILING 2 - 2
                    Case 21-52236-wlh                  Doc 1        Filed 03/18/21 Entered 03/19/21 10:00:08                                              Desc
                                                                   Petition Page 57 of 64
 Fill in this information to identify your case.:                                                            Check one box only as directed in this form and in
                                                                                                             Form 122A-1Supp:
 Debtor 1         Ana                                                     Belmont
                    First Name                Middle Name                 Last Name
                                                                                                             U 1. There is no presumption of abuse.
 Debtor 2
 (Spouse, if filing) First Name               Middle Name                 Last Name                          U 2. The calculation to determine if a presumption of
                                                                                                                  abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the: Northern District of Georgia                                             Means Test Calculation (Official Form 122A-2).
 Case number                                                                                                 U 3. The Means Test does not apply now because of
 (If known)                                                                                                       qualified military service but it could apply later.


                                                                                                             U Check if this is an amended filing



Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                     10/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

                    Calculate Your Current Monthly Income

   1. What is your marital and filing status? Check one only.
        O Not married. Fill out Column A, lines 2-11.
        U Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

         WI Married and your spouse is NOT filing with you. You and your spouse are:
              0      Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                     Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                     under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                     spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
         Fill in the average monthly income,t                   r#4,i,hi• from all sCibrCe*Olyed. Ourbig .the 6 full months befors'yottfilithi
         bankruptcy case, 111..CS.CA1,01.00                  :',0*arliPIS:ItYPO-'aref(lirig'OrilSepternberi$:;;Ane $4rnOnt11 periodybilld be March 1 tiinD(Igh
                                         . .
         August 31. If the amount Of ypur.m0nthl            04 'Orie0.4Uring,.th'ee niontnS,adOtheLinoorne,for all 6 months and,diyidelhe.tPial by 6.
         Fill in the result. Do net include any inn°                 )6ro't).0iTi'dttqp;:,fpr e'x'01:01ei.If 00trliq).0,,00        qoi rental property,, put..the, '
         income from that property in one column                   ou'hYe nOthin01:to'OpPititcit'An'y,line;';yrite,50:16;111
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                                                                                                                                      na.b.4J11.109:.01)900:
    2. Your gross wages, salary, tips, bonuses, overtime, and commissions
       (before all payroll deductions).                                                                          $     1.530.00         $

    3. Alimony and maintenance payments. Do not include payments from a spouse if
       Column B is filled in.
    4. All amounts from any source which are regularly paid for household expenses
       of you or your dependents, including child support. Include regular contributions
       from an unmarried partner, members of your household, your dependents, parents,
       and roommates. Include regular contributions from a spouse only if Column B is not
       filled in. Do not include payments you listed on line 3.
    5. Net income from operating a business, profession,
       or farm
       Gross receipts (before all deductions)
         Ordinary and necessary operating expenses
                                                                                                      Copy
         Net monthly income from a business, profession, or farm                                      here",     $

    6. Net income from rental and other real property
       Gross receipts (before all deductions)
       Ordinary and necessary operating expenses                          —$     ____   —$
                                                                                                       Copy
         Net monthly income from rental or other real property               $             $            here+    $
    7. Interest, dividends, and royalties



 Official Form 122A-1                             Chapter 7 Statement of Your Current Monthly Income                                                             page 1
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                                                               Petition Page 58 of 64

Debtor 1        Ana                                                  Belmoni                    Case number (If known)
                 First Name    Male Name           Last Name



                                                                                                    co/u
                                                                                                    PR                       Póbtor 2o
                                                                                                                            ..nonAlihti*OPOC'
   8. Unemployment compensation
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here:
            For you
            For your spouse
   9. Pension or retirement income. Do not include any amount received that was a
       benefit under the Social Security Act. Also, except as stated in the next sentence, do
       not include any compensation, pension, pay, annuity, or allowance paid by the
       United States Government in connection with a disability, combat-related injury or
       disability, or death of a member of the uniformed services. If you received any retired
       pay paid under chapter 61 of title 10, then include that pay only to the extent that it
       does not exceed the amount of retired pay to which you would otherwise be entitled if
       retired under any provision of title 10 other than chapter 61 of that title.
   10. Income from all other sources not listed above. Specify the source and amount.
       Do not include any benefits received under the Social Security Act; payments received
       as a victim of a war crime, a crime against humanity, or international or domestic
       terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
       States Government in connection with a disability, combat-related injury or disability, or
       death of a member of the uniformed services. If necessary, list other sources on a
       separate page and put the total below.




           Total amounts from separate pages, if any.                                                                        -F $


   11. Calculate your total current monthly income. Add lines 2 through 10 for each
       column. Then add the total for Column A to the total for Column B.                              $ 1,530.00                                $ 1,530.00
                                                                                                                                                 Total current
                                                                                                                                                 monthly income

    Part .2::      Determine Whether the Means Test Applies to You

   12. Calculate your current monthly income for the year. Follow these steps:
       12a       Copy your total current monthly income from line 11                                                     Copy line 11 here+

                 Multiply by 12 (the number of months in a year).
       12b       The result is your annual income for this part of the form.                                                             12b.


   13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.

       Fill in the number of people in your household.

       Fill in the median family income for your state and size of household.                                                            13.
       To find a list of applicable median income amounts, go online using the link specified in the separate
       instructions for this form. This list may also be available at the bankruptcy clerk's office.


   14. How do the lines compare?


           14a.C:1 Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                   Go to Part 3.



           14b.U    Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                    Go to Part 3 and fill out Form 122A-2.




 Official Form 122A-1                           Chapter 7 Statement of Your Current Monthly Income                                                page 2
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                                                             Petition Page 59 of 64

Debtor 1     Ana                                                   Belmonl                      Case number (if known)
             First Name      Middle Name         Last Name



   Pert 3:     Sign Below

              By signir    here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.



                   Signature of Debtor 1                                                       Signature of Debtor 2

                  Date                                                                         Date
                                                                                                      MM/DO / YYYY

                   If you checked line 14a, do NOT fill out or file Form 122A-2.
                   If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                         Chapter 7 Statement of Your Current Monthly Income                                                  page 3
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                                            Petition Page 60 of 64



                       UNITED STATES BANKRUPTCY COURT
                NORTHERN DISTRICT OF GEORGIA BANKRUPTCY COURT
                             ATLANTA DIVISION


In the Matter of:                                                    CASE NO.:

     Ana Belmont
                                                                        Chapter 7


                                              Debtor(s).

                              VERIFICATION OF CREDITOR MATRIX

        The above named debtor(s) hereby verify under penalty of perjury that the attached matrix listing of creditors

is true, correct and accurate to the best of the knowledge and belief of the debtor(s).


       Dated:




                                                               , (Signature of Joint Debtor, if any)
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                                 Petition Page 61 of 64



USDA / RURAL DEVELOPMENT
P.O. BOX 66889
St. Louis, MO 63166

Bank of America
PO BOX 45144
Jacksonville, FL 32232

SYNCB/BRANDSMART
PO BOX 965036
Orlando, FL 32896

Bank of America
PO BOX 982238
El Paso, TX 79998

CAPITAL ONE BANK USA NA
PO BOX 31293
Salt Lake City, UT 84131

Upgrade Inc
2 NORTH CENTRAL AVE
10TH FLR 10TH FLOOR
Pheonix, AZ 85004

US DEPT. OF EDUCATION/GL
2401 INTERNATIONAL LANE
POB 7859
Madison, WI 53704

SECURITY SERVICES FC
7323 HWY 90 WEST
San Antonio, TX 78227

Grady Hospital
80 Jesse Hill Jr Dr SE
Altanta, GA 30303

Anthem
P.O. Box 105370
Atlanta, GA 30348
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                                  Petition Page 62 of 64


U. S. BANKRUPTCY COURT / NORTHERN DISTRICT OF GEORGIA / ATLANTA DIVISION

RECEIPT #01264265 (EL) OF 03/19/2021 I


ITEM     CODE   CASE          QUANTITY                        AMOUNT   BY

   1      7IN   21-52236             1                        $ 0.00   Currency
                Judge - unknown at time of receipt
                Debtor - ANA BELMONT


TOTAL:                                                        $ 0.00


FROM: Ana Belmont
      P.O. Box 783
      Norcross, GA 30091




                                     Page 1 of 1
                   Case 21-52236-wlh                 Doc 1      Filed 03/18/21 Entered 03/19/21 10:00:08                                 Desc
                                                               Petition Page 63 of 64
   Case Number: 21-52236                                        Name: Belmont                                       Chapter: 7

Please submit the following original documents to the Court for filing so that the case will proceed timely. If you would like to have a filed-
stamped copy of the documents, please submit an extra copy along with a self-addressed stamped envelope.

N Individual - Series 100 Forms                                                               0 Non-Individual - Series 200 Forms

 MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                          Petition Deficiencies:
 E Complete List of Creditors (names and addresses of all creditors)                          1=1 Last 4 digits of SSN
 O Pro Se Affidavit (due within 7 days, signature must be notarized,                          O Address 0 County
 or witnessed by a Court Intake Clerk, accompanied by a picture I.D.)                         LI Type of Debtor
 O Signed Statement of SSN (due within 7 days)                                                O Chapter
                                                                                              ID Nature of Debts
  MISSING DOCUMENTS DUE WITHIN 14 DAYS                                                        O Statistical Estimates
  CI Statement of Financial Affairs                                                           O Venue
  El Schedules: A/B C D E/ FGHIJ 1=1 J-2 (different addressfor Debtor 2)                      O Attorney Bar Number
  E Summary of Assets and Liabilities
  O Declaration About Debtor(s) Schedules
                                                                                                            Case filed via:
  O Attorney Disclosure of Compensation
                                                                                         0 Intake Counter by:
  O Petition Preparer's Notice, Declaration and Signature (Form 119)
                                                                                             0 Attorney
  LI Disclosure of Compensation of Petition Preparer (Form 2800)
                                                                                             O Debtor - verified ID:
  O Chapter 13 Current Monthly Income
                                                                                             LI Other - copy of ID:
  1=1 Chapter 7 Current Monthly Income
  O Chapter 11 Current Monthly Income                                                    El Mailed by:
  O Certificate of Credit Counseling (Individuals only)                                      O Attorney
  E Pay Advices (Individuals only) (2 Months)                                                El Debtor: 956-372-5889
  E Chapter 13 Plan, complete with signatures (local form)                                   E Other:
  O Corporate Resolution (Business Ch. 7 & 11)
                                                                                         E1 Email [Pursuant to General Order 40-2020, this
  Ch.11 Business                                                                         petition was received for filing via email]
  O 20 Largest Unsecured Creditors
  El List of Equity Security Holders                                                                 History of Case Association
  LI Small Business - Balance Sheet                                                      Prior cases within 2 years: None
  O Small Business - Statement of Operations
  O Small Business - Cash Flow Statement                                                 Signature:
  O Small Business - Federal Tax Returns                                                 Acknowledgment of receipt of Deficiency Notice

  MISSING DOCUMENTS DUE WITHIN 30 DAYS
  1=1 Statement of Intent — Ch. 7 (Individuals only)

         Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov. If filing bankruptcy without an
attorney, please read the information regarding Filing Bankruptcy without an Attorney at: www.uscourts.gov/services-forms/bankruptcy/filing-
without-attorney.

FILING FEE INFORMATION - if the required filing fees are not paid in full at the time of case filing, an Order will be forthcoming:
Online Payment for Filing Fee https://www.ganb.uscourts.gov/online-payments (not for chapter 13 plan payments)
        N Paid $         2g-Order Granting      0 3g-Order Granting 10-day finitial payment of $_____ due within 10 days)
         •   2d-Order Denying with filing fee of $_____ due within 10 days                  Ei IFP filed (Ch.7 Individuals Only)
         0    No Application to Pay in Installments, Order Regarding Unpaid Case Filing Fee.
                 You may mail documents and filing fee payments (no personal checks accepted - cashier's check or money orders only) to the address below.
                              All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                      **Failure to Comply may result in the dismissal of your case.**
                                                         UNITED STATES BANKRUPTCY COURT
                                                           75 Ted Turner Drive, SW, Room 1340
                                                                  Atlanta, Georgia 30303
                                                                      404-215-1000
Intake Clerk:     E. Lestrade                     Date: 3/19/21                       Case Opener:                                             Date:
                                                                        "1.1.0                                                                               T. pfikuL
                                                          Case 21-52236-wlh
                                                                    FSC                     Doc 1    Filed 03/18/21 Entered 03/19/21 10:00:08       DescRATE ENVELOPE
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